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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           UNITED STATES OF AMERICA :
                                    :
                    v.              :                    CRIMINAL ACTION FILE
                                    :
           ARTIS LISBON,            :                    NO. 1:10-CR-251-10-TWT/AJB
                                    :                    (Second Superseding)
                         Defendant. :

                                   ORDER FOR SERVICE OF
                                REPORT AND RECOMMENDATION

                 Attached is the Report and Recommendation (“R&R”) of the United States

           Magistrate Judge made in accordance with 28 U.S.C. § 636(b)(1) and

           N.D. Ga. CrR. 58.1(A)(3)(a), (b). Let the same be filed, and a copy of the R&R,

           together with a copy of this Order, shall be served upon counsel for the parties.

                 Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections to the

           R&R within fourteen (14) days of service of this Order. Should objections be filed,

           they shall specify with particularity the alleged error(s) made (including reference by

           page number to the transcript if applicable) and shall be served upon the opposing

           party. See United States v. Gaddy, 894 F.2d 1307, 1315 (11th Cir. 1990). The party

           filing objections will be responsible for obtaining and filing the transcript of any




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           evidentiary hearing for review by the District Court. Failure to object in accordance

           with this rule waives a party’s right to review. Fed. R. Crim. P. 59(b)(2).

                 Pursuant    to   18    U.S.C.    §   3161(h)(1)(H),     the   above-referenced

           fourteen (14) days allowed for filing objections is EXCLUDED from the

           computation of time under the Speedy Trial Act (“the Act”), whether or not

           objections are actually filed. If objections to this R&R are filed, the Clerk is

           DIRECTED to EXCLUDE from the computation of time all time between the filing

           of the R&R and the submission of the R&R, along with any objections, responses and

           replies thereto, to the District Judge. 18 U.S.C. § 3161(h)(1)(D), (H); Henderson v.

           United States, 476 U.S. 321, 331 (1986); United States v. Mers, 701 F.2d 1321, 1337

           (11th Cir. 1983). The Clerk is DIRECTED to submit the R&R with objections, if any,

           to the District Court after expiration of the above time period.

                 IT IS SO ORDERED and DIRECTED, this 13th day of October                 , 2011.




                                                   ALAN J. BAVERMAN
                                                   UNITED STATES MAGISTRATE JUDGE




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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           UNITED STATES OF AMERICA :
                                    :
                    v.              :                    CRIMINAL ACTION FILE
                                    :
           ARTIS LISBON,            :                    NO. 1:10-CR-251-10-TWT/AJB
                                    :                    (Second Superseding)
                         Defendant. :

                             UNITED STATES MAGISTRATE JUDGE’S
                               REPORT AND RECOMMENDATION

                 Defendant Lisbon has filed a motion, an amended motion, and a second amended

           motion to suppress evidence, [Docs. 178, 194, 256], as to which the Court held

           evidentiary hearings on April 13, 2011, [Doc. 257] (“T1-__”) and June 16, 2011,

           [Doc. 285] (“T2-__”). The parties then filed post-hearing briefs. [Docs. 266, 271, 292,

           293]. With briefing concluded, the motions are now ripe for recommended resolutions.

           For the following reasons, the undersigned RECOMMENDS that the motions be

           DENIED. In addition, Lisbon filed a motion for severance, [Doc. 180], which the

           undersigned RECOMMENDS be DENIED.




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                                           Motions to Suppress

                 Lisbon filed motions to suppress seeking to exclude evidence seized from

           searches conducted by warrant at 1899 Trotti Street, Atlanta, Georgia (hereinafter

           “Trotti”), 335 W. Ponce De Leon Avenue, Unit 210, Decatur, Georgia (hereinafter

           “W. Ponce”), and three safe deposit boxes, as well as a warrantless search of W. Ponce

           and an automobile located there. The Court previously concluded that Lisbon was not

           entitled to an evidentiary hearing as to the searches conducted by warrant at Trotti and

           W. Ponce. [Doc. 242]. Because that order was issued to set evidentiary hearings (as

           discussed infra), the Court repeats its prior analysis for purposes of review by the

           District Court and discusses the issues that remain to be decided following the

           evidentiary hearings and briefing.

           I.    Searches as to which Lisbon was not entitled to an evidentiary hearing:

                 A.     1899 Trotti Street, Atlanta, Ga. (No. 1:10-MJ-728-LTW,
                        issued June 10, 2010) [Doc. 203-1].

                 The Court previously concluded that Lisbon was not entitled to an evidentiary

           hearing on the execution of the search warrant at Trotti. Lisbon objected to the search

           conducted at Trotti on three grounds. He argued that (1) the search warrant lacked

           particularity, (2) the executing agents exceeded the scope of the search warrant when



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           they seized “miscellaneous paperwork” from that location and searched a Pontiac

           automobile on the premises at the time of the search, [Doc. 194 at 12-13]; and (3) the

           agents lacked probable cause to search the Pontiac. [Id. at 14].

                 The Court rejected each argument. First, Lisbon did not establish “standing” to

           contest the Trotti Street search. See Rakas v. Illinois, 439 U.S. 128, 133-34, 143

           (1978); United States v. Cooper, 203 F.3d 1279, 1284 (11th Cir. 2000).1 One’s standing

           to challenge governmental actions on Fourth Amendment grounds is a threshold

           question. United States v. McBean, 861 F.2d 1570, 1573 (11th Cir. 1988). A defendant

           bears the burden of showing a legitimate expectation of privacy in the area searched.

           United States v. Brazel, 102 F.3d 1120, 1147-48 (11th Cir. 1997); United States v.

           Ramos, 12 F.3d 1019, 1023 (11th Cir. 1994). To have standing to challenge a search,

           one must manifest a subjective expectation of privacy in the invaded area that “society

           is prepared to recognize as reasonable.” Rakas, 439 U.S. at 143 & n.12; United States

           v. Cooper, 133 F.3d 1394, 1398 (11th Cir. 1998). A defendant must establish both a

                 1
                        The undersigned recognizes that the Supreme Court disapproves of the use
           of the word “standing” in this context. See Rakas, 439 U.S. at 139-40; see also United
           States v. Hawkins, 681 F.2d 1343, 1344-45 (11th Cir. 1982). However, the undersigned
           will use the word “standing” when referring to whether Defendant has an expectation
           of privacy because courts routinely use “standing” as “shorthand for the existence of
           a privacy or possessory interest sufficient to assert a Fourth Amendment claim.”
           United States v. Daniel, 982 F.2d 146, 149 n.2 (5th Cir. 1993).

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           subjective and an objective expectation of privacy. United States v. Segura-Baltazar,

           448 F.3d 1281, 1286 (11th Cir. 2006); United States v. Robinson, 62 F.3d 1325, 1328

           (11th Cir. 1995). “ ‘The subjective component requires that a person exhibit an actual

           expectation of privacy, while the objective component requires that the privacy

           expectation be one that society is prepared to recognize as reasonable.’ ” Robinson,

           62 F.3d at 1328; see also Cooper, 133 F.3d at 1398. Also, the individual’s expectation,

           viewed objectively, must be justifiable under the circumstances. Smith v. Maryland,

           442 U.S. 735, 740-41 (1979). A bare claim that an individual has an interest in the

           items seized during a search, however, is insufficient to establish that his or her Fourth

           Amendment rights were implicated by a search. United States v. Chaves, 169 F.3d 687,

           690 (11th Cir. 1999). Courts assess on a case-by-case basis the “standing” of a

           particular person to challenge an intrusion by government officials into an area over

           which that person lacked primary control. Oliver v. United States, 466 U.S. 170, 191

           n.13 (1984). The subjective prong is a factual inquiry. United States v. McKennon,

           814 F.2d 1539, 1543 (11th Cir. 1987); see also United States v. Jones,

           184 Fed. Appx. 943, 947 (11th Cir. June 22, 2006). The objective prong is a question

           of law. McKennon, id.




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                 Lisbon first argued in his brief that he had a legitimate expectation of privacy in

           the residence because although it was his father’s, he kept belongings, including his

           vehicle, at the residence. [Doc. 194 at 8]. It is true that “even where a defendant does

           not own the property searched, he or she may nonetheless have a reasonable

           expectation of privacy in that place by virtue of his or her relationship with that place.”

           Chaves, 169 F.3d at 690. For example, the Supreme Court has held that an overnight

           guest in a house of a third party has a reasonable expectation of privacy. Minnesota v.

           Olson, 495 U.S. 91, 96-100 (1990). However, as the Supreme Court has affirmed, not

           everyone “who is merely present with the consent of the householder” may necessarily

           be able to challenge a search of the premises. Minnesota v. Carter, 525 U.S. 83, 90

           (1998) (citing Rakas, 439 U.S. 128). In Carter, the Supreme Court in fact declined to

           find that a visitor to a residence, present for only a short period of time and for the

           purpose of conducting illicit drug transactions, without any known prior connection to

           the residence, had a reasonable expectation of privacy to contest a search of the

           residence. Carter, id. at 90-91.




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                 The allegations asserted in Lisbon’s brief2 were insufficient to establish standing

           since they failed to demonstrate that Lisbon had “an unrestricted right of occupancy or

           custody and control of the premises” that would create a legitimate expectation of

           privacy in the residence.      United States v. Cossio, 336 Fed. Appx. 909, 912

           (11th Cir. July 8, 2009) (quoting United States v. Baron-Mantilla, 743 F.2d 868, 870

           (11th Cir. 1984)); see also United States v. Torres, 705 F.2d 1287, 1294-95

           (11th Cir. 1983), vacated en banc, consideration pending remand to panel, 718 F.2d 998

           (11th Cir. 1983), remanded, 720 F.2d 1506 (11th Cir. 1983), on appeal after remand,

           741 F.2d 1323 (11th Cir. 1984) (where appellants were house guests of searched house,

           ate, slept and showered there, stored personal belongings there and were the only guests

           in house at time of search, appellants would have standing to challenge search); United

           States v. Garcia, 741 F.2d 363, 366 (11th Cir. 1984) (although appellant had more than

           tenuous interest in searched apartment, appellant had no standing where connections

           were not regular or personal enough to find that appellant adopted apartment as a place

           of business or as a residence). Since these allegations did not allege facts that if proved


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                         The Court did not need to address the government’s argument that
           Lisbon’s showing as to standing was procedurally inadequate for failing to include an
           affidavit, [see Doc. 203 at 5], because even if Lisbon had submitted an affidavit
           swearing to the assertions in the brief, he still would not have established standing.

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           would require the grant of relief, the Court held that an evidentiary hearing on the issue

           of standing was not warranted. Cooper, 203 F.3d at 1285 (quoting United States v.

           Sneed, 732 F.2d 886, 888 (11th Cir. 1984)).

                 The former Fifth Circuit’s discussion in United States v. Haydel, 649 F.2d 1152

           (5th Cir. Unit A July 1981),3 upon which Lisbon relied, demonstrates the inadequacy of

           Lisbon’s showing on standing. In Haydel, the evidence established that the defendant’s

           parents had given him permission to use their home and had given him a key, causing

           the court to conclude that his access was for all practical purposes unencumbered. Id. at

           1155. Although the defendant in Haydel did not reside regularly at his parents’ home,

           he kept clothing there and had occasionally remained overnight, when he and his wife

           had domestic problems. Id. & n.2. Unlike Haydel, Lisbon’s statements that he kept

           belongings there are insufficient to establish the requisite legitimate expectation of

           privacy in the premises, as explained below.

                 In an affidavit filed with his reply brief, Lisbon testified that “one of the

           businesses [he] was involved in was Trotti Used Car Sales, Inc., a Georgia Corporation

           with its principal office and place of business at 1899 Trotti Street,” and that he

                 3
                        In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981)
           (en banc), the Eleventh Circuit adopted as binding precedent all of the decisions of the
           former Fifth Circuit handed down prior to the close of business on September 30, 1981.

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           “had an office in the residence at 1899 Trotti Street where [he] kept

           property.” [Doc. 207-1 at 3].4 These ambiguous statements are similarly insufficient

           to satisfy his burden to demonstrate standing in the Trotti property. Individuals may

           have a “reasonable expectation of privacy against intrusions by police” into their

           offices. O’Connor v. Ortega, 480 U.S. 709, 716 (1987) (“Within the workplace

           context, . . . an expectation [of privacy] in one’s place of work is based upon societal

           expectations that have deep roots in the history of the Amendment.” (citations and

           internal quotation marks omitted)). But, unlike the nearly absolute protection of a

           residence, the “great variety of work environments” requires analysis of reasonable

           expectations “on a case-by-case basis.” Id. at 718. The Fourth Amendment inquiry

           hinges on whether the area or thing “searched was one in which there was a reasonable

           expectation of freedom from governmental intrusion.” Mancusi v. DeForte, 392 U.S.

           364, 368 (1968). The corporate employee, moreover, must demonstrate a sufficient

           “nexus between the area searched and [his] own work space.” United States v. Britt,

           508 F.2d 1052, 1056 (5th Cir. 1975); see also Wayne R. Lafave et al., 3 Criminal

           Procedure § 9.1(c) (3d ed. Nov. 2010) (“Consistent with Mancusi, courts have held that


                 4
                      He also testified that on June 10, 2010, a Pontiac G8 automobile titled in
           his name was parked at the premises. [Doc. 207-1 at 3].

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           a corporate or individual defendant in possession of the business premises searched has

           standing, and that an officer or employee of the business enterprise has standing if

           ‘there was a demonstrated nexus between the area searched and the work space of the

           defendant.’ ”) (footnotes omitted). Because Fourth Amendment rights are personal in

           nature, “an individual cannot assert a corporation’s Fourth Amendment rights absent

           a showing that he had an independent privacy interest in the good seized or the area

           searched.” United States v. Vicknair, 610 F.2d 372, 379 (5th Cir. 1980). Although an

           analysis of a legitimate expectation of privacy in business premises necessarily must

           be determined on a case-by-case basis, there are several considerations that provide

           guidance:

                 Generally, courts tend to find that these elements are sufficiently
                 established when the area searched is set aside for the defendant’s
                 exclusive use, such as an individual office. However, courts are more
                 skeptical of standing claims when the defendant only occasionally used
                 the area searched. The greater the degree of exclusivity and control over
                 a work area, and the more time a defendant spends there, the more likely
                 standing is to be found. By contrast, the less private a work area - - and
                 the less control a defendant has over that work area - - the less likely
                 standing is to be found.

           United States v. Hamdan, 891 F. Supp. 88, 94-95 (E.D.N.Y. 1995) (citations omitted).

           For example, in Henzel v. United States, 296 F.2d 650 (5th Cir. 1961), the former Fifth

           Circuit held that the sole stockholder and president of a corporation had standing to

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           challenge the seizure of corporate books and records when the individual had prepared

           much of the confiscated material, which was kept in his office along with his personal

           belongings. Id. at 653. In Chaves, the Eleventh Circuit found that the defendant had

           standing to contest a search of the warehouse, where he possessed the only key and he

           kept business and personal papers in the warehouse. Chaves, 169 F.3d at 691.

                 Lisbon did not submit any evidence to support a conclusion that he exercised “a

           measure of control and ability to exclude others” as to the Trotti property. His

           statement that he was “involved” in the business at that address does not satisfy his

           burden. “[A] motion to suppress must in every critical respect, including allegations

           of standing, be ‘sufficiently definite, specific, detailed, and nonconjectural to enable the

           [C]ourt to conclude that a substantial claim is presented.’ ” United States v. Ford,

           34 F.3d 992, 994 (11th Cir. 1994) (quoting United States v. Eyster, 948 F.2d 1196,

           1208-09 (11th Cir. 1991), and United States v. Richardson, 764 F.2d 1514, 1527

           (11th Cir. 1985)); see also Cooper, 203 F.3d at 1285 (holding that an evidentiary

           hearing on the issue of standing is not necessary unless the defendant alleges facts in

           his motion sufficient to establish his standing).

                 On the other hand, the Court concluded that Lisbon has standing to challenge the

           search of the Pontiac searched at the Trotti residence. See United States v. Borno,

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           946 F. Supp. 972, 977 (M.D. Fla. 1996) (recognizing that vehicle owner may contest

           its search); see also United States v. Salvucci, 448 U.S. 83, 91 (1980) (recognizing that

           “property ownership is clearly a factor to be considered in determining whether an

           individual’s Fourth Amendment rights have been violated”).

                 Second, even if Lisbon had properly asserted standing to challenge the Trotti

           search, he would not be entitled to an evidentiary hearing on his motion to suppress.

           As to his challenge to the search of a Pontiac automobile in the garage, circuit

           precedent authorizes the search of a vehicle on the premises during the execution of a

           search warrant:

                        Many courts have held that a warrant describing the premises
                 includes the vehicles parked on the property so described. In United
                 States v. Singer, 970 F.2d 1414, 1417-18 (5th Cir. 1992), the Fifth Circuit
                 affirmed a trial court’s decision refusing to suppress evidence obtained
                 from a search of two automobiles located on the property of a residence
                 for which a search warrant was issued. In affirming the lower court, the
                 Circuit Court explained that “[t]his court has consistently held that a
                 warrant authorizing a search of ‘the premises’ includes vehicles parked on
                 the premises.” Singer, 970 F.2d at 1418 (citing United States v. Cole,
                 628 F.2d 897, 899 (5th Cir. 1980) (additional citations omitted) . . . .

                        There is binding precedent in this circuit holding that a search of the
                 premises includes vehicles parked on the premises. See United States v.
                 Napoli, 530 F.2d 1198, 1200 (5th Cir. 1976) (“We conclude that the search
                 of the camper was authorized by the warrant. We think that the reference
                 to ‘on the premises known as 3027 Napoleon Avenue’ was sufficient to
                 embrace the vehicle parked in the driveway on those premises.”).

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                       Those reasons apply in the instant case. The Search Warrant
                 describing the premises as Route 4, Box 133 Rolling Hills Circle, Ozark,
                 Alabama, was sufficient to embrace the Lexus parked in the driveway on
                 those premises. For this reason, the court adopts the Magistrate’s
                 Recommendation as to the search of the Lexus.

           United States v. Ridolf, 76 F. Supp. 2d 1305, 1311 (M.D. Ala. 1999); see also United

           States v. Cole, 628 F.2d 897 (5th Cir. 1980), where the court wrote:

                        In [Napoli], this court held that a warrant to search “premises
                 known as” a particular address and described as a residential dwelling
                 conferred authority to search a camper parked in the driveway. Here the
                 warrant referred to “premises described as” a family dwelling, “being the
                 rear apartment” of a particular address. There is no significant difference
                 in the terms of the two warrants. Under Napoli, therefore, appellant’s
                 truck, parked in a carport attached to the rear apartment, was within the
                 scope of the warrant.[ ] The officers were thus authorized to search the
                 truck, limited only by the nature of what they were searching for. See
                 Walter v. United States, 447 U.S. 649, -- (1980); Harris v. United States,
                 331 U.S. 145, 152 (1947). Both the hat (in which the gun was found) and
                 the attache case (in which the silencer was found) might have contained
                 drugs. The officers thus did not exceed the scope of the warrant in
                 searching those items. The convictions on counts one through four, based
                 on the pen gun and the silencer, must be affirmed.

           Cole, 628 F.2d at 899-900 & n.3 (citing United States v. Anderson, 485 F.2d 239

           (5th Cir. 1973) (warrant for premises held to include flower bed outside house); United

           States v. Long, 449 F.2d 288 (8th Cir. 1971) (warrant for premises held to include

           outside trash barrel); Brooks v. United States, 416 F.2d 1044 (5th Cir. 1969) (warrant

           for lot and cabin held to include automobile parked near cabin)). As a result, in order

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           to lawfully search the Pontiac automobile in the course of searching Trotti, the

           executing agents did not need any probable cause independent of that supporting the

           search warrant for the premises. Therefore, the Court concluded that Lisbon was not

           entitled to an evidentiary hearing because the Pontiac was properly searched as part of

           the execution of the Trotti search warrant.

                 Next, the Court held that the Trotti warrant was not in violation of the Fourth

           Amendment’s particularity requirement. The search warrant authorized the following

           items at the location to be searched for and seized:

                 1.     Cocaine and other controlled substances

                 2.     U.S. Currency

                 3.     Firearms

                 4.     Jewelry

                 5.     Ledgers and other drug records

                 6.     Cellular telephones, SIM cards, Laptops, Blackberries, and other
                        similar devices capable of sending and receiving emails or text
                        messages, including their contents

                 7.     Drug paraphernalia, including but not limited to scales, kilo
                        presses, and materials for packaging drugs and drug money

                 8.     Indicia of identity and/or occupancy, such as identification
                        documents and mail.

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           See Exhibit A to Search Warrant located at Doc. 203-1 at 3. The face page of the

           warrant, below the typed entry of “Exhibit A,” contained the following handwritten

           notation:

                 which is property which constitutes evidence of violations of
                 21 U.S.C. §§ 841 and 846.

           [Doc. 203-1 at 2]. Lisbon argued that the term “identification documents and mail” is

           too   open-ended       to   satisfy    the    Fourth     Amendment’s         particularity

           requirement. [Doc. 194 at 22].

                 The Fourth Amendment provides that “no Warrants shall issue, but upon

           probable cause, supported by Oath or affirmation, and particularly describing the place

           to be searched, and the persons or things to be seized.” (emphasis added). “This

           requirement is aimed at preventing ‘general, exploratory rummaging in a person’s

           belongings.’ ” United States v. Wuagneux, 683 F.2d 1343, 1348 (11th Cir. 1982)

           (quoting Coolidge v. New Hampshire, 403 U.S. 443, 467 (1971)). The requirement for

           particularity “ensures that the search will be carefully tailored to its justifications, and

           will not take on the character of the wide-ranging exploratory searches the Framers

           intended to prohibit.” Maryland v. Garrison, 480 U.S. 79, 84 (1987). A warrant which

           fails to sufficiently particularize the place to be searched or the things to be seized is

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           unconstitutionally overbroad and the resulting general search is unconstitutional.

           Stanford v. Texas, 379 U.S. 476, 512 (1965). In order to deter such warrants and

           searches, any evidence so seized must be excluded from the trial of the defendant.

           Stone v. Powell, 428 U.S. 465, 486 (1976); United States v. Travers, 233 F.3d 1327,

           1329 (11th Cir. 2000). A description is sufficiently particular when it enables the

           searcher to reasonably ascertain and identify the things to be seized. United States v.

           Santarelli, 778 F.2d 609, 614 (11th Cir. 1985); Wuagneux, 683 F.2d at 1349; United

           States v. Cook, 657 F.2d 730, 733 (5th Cir. Unit A Sept. 1981). A search warrant must

           indeed be sufficiently precise as not to permit a general search, but the test is the

           reasonableness of the description. Elaborate specificity is unnecessary. See United

           States v. Strauss, 678 F.2d 886, 892 (11th Cir. 1982); United States v. Osborne,

           630 F.2d 374, 378 (5th Cir. 1980). And, while the Court is mindful of the Supreme

           Court’s often-quoted admonition in Marron v. United States, 275 U.S. 192, 196 (1927),

           that “as to what is to be taken, nothing is left to the discretion of the officer executing

           the warrant,” as the Eleventh Circuit has pointed out, “if this statement were construed

           as a literal command, no search would be possible.” Wuagneux, 683 F.2d at 1349 n.4

           (citing Gurleski v. United States, 405 F.2d 253 (5th Cir. 1968)). Instead, the test is

           whether the search was a general exploration or was specifically directed to the means

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           and instrumentalities by which the crime charged had been committed. Harris v.

           United States, 331 U.S. 145, 153-54 (1947).

                 Lisbon’s argument that the term “identification documents and mail” lacks

           particularity ignores the fact that the term itself modifies the authorization to search for

           and seize “[i]ndicia of identity and/or occupancy,” [Doc. 203-1 at 3], and was further

           limited to evidence related to the investigation at hand, i.e., property which constitutes

           evidence of violations of 21 U.S.C. §§ 841 and 846. [Id. at 2]. “A search warrant may

           be used, not only to gather evidence of a criminal activity, but also to gather evidence

           of who controlled the premises suspected of connection with criminal acts.” United

           States v. McLaughlin, 851 F.2d 283, 286 (9th Cir. 1988). The use of a generic term or

           a general description (i.e., identification documents and mail) is not per se violative of

           the Fourth Amendment. Cook, 657 F.2d at 733. When a more specific description of

           the items to be seized is unavailable, a general description will suffice, but “[f]ailure

           to employ the specificity available will invalidate a general description in a warrant.”

           Id.

                 Here, the items sought (identification documents and mail) were tempered by

           the object of the search - - evidence of identity and/or occupancy of the premises

           searched - - and in relation to the crimes under investigation. See Gurleski, 405 F.2d

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           at 258 (noting that the “search must be one directed in good faith toward the objects

           specified in the warrant or for other means and instrumentalities by which the crime

           charged had been committed”). The executing agents were therefore given sufficient

           direction in executing the warrant and as a result, the warrant did not offend the

           particularity requirement of the Fourth Amendment.

                 The Court also rejected Lisbon’s next argument, that the executing agents

           exceeded the scope of the warrant. The search was not made invalid because the

           executing agents seized, as Lisbon describes, “extensive banking and financial

           information” from the residence and the Pontiac. “The Fourth Amendment requires

           that a warrant particularly describe the place to be searched and the terms or person to

           be seized; exploratory rummaging is prohibited.”           United States v. Jenkins,

           901 F.2d 1075, 1081 (11th Cir. 1990). A search may be as extensive as reasonably

           necessary to locate the items described in the warrant. Id. at 1082 (quoting Wuagneux,

           683 F.2d at 1352). Generally, when law-enforcement officers conduct a search that

           exceeds the proper scope of a warrant, evidence obtained in that search may be

           excluded. United States v. Hendrixson, 234 F.3d 494, 497 (11th Cir. 2000) (citing

           Horton v. California, 496 U.S. 128, 140 (1990)). However, the seizure of items not

           covered by a warrant does not automatically invalidate an otherwise valid search.

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           United States v. Schandl, 947 F.2d 462, 465 (11th Cir. 1991) (citing United States v.

           Henson, 848 F.2d 1374, 1383 (6th Cir. 1988), where the court held that agents did not

           exceed the scope of the warrant in a mail-fraud conspiracy case despite the fact that

           such items as “office supplies, blank paper, horse records, divorce records, and personal

           income tax records” were seized). “Only the evidence seized while the police are

           acting outside of the boundaries of the warrant is subject to suppression.” Hendrixson,

           234 F.3d at 497. Evidence that is properly within the scope of the warrant will be

           suppressed only where there has been a “flagrant disregard” of the terms of the warrant.

           Wuagneux, 683 F.2d at 1354. The crucial inquiry is always “whether the search and

           seizures were reasonable under all the circumstances.” Id. at 1352; see also United

           States v. Heldt, 668 F.2d 1238, 1254 (D.C. Cir. 1981), cited in Schandl, 947 F.2d

           at 465). Such things as the scope of the warrant, the behavior of the searching agents,

           the conditions under which the search was conducted, and the nature of the evidence

           being sought must be considered in determining whether the search was reasonable.

           Heldt, 668 F.2d at 1254.

                 This aspect of Lisbon’s motion should be denied for three reasons. First, Lisbon

           has not specifically pointed out which items he contends were seized in violation of the

           warrant. He only generally complained about the seizure of “extensive banking and

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           financial records.” Without specifically detailing how the warrant’s scope was

           exceeded in execution, Lisbon was not entitled to a hearing nor the relief of

           suppression.

                 Second, the government produced to the Court and Lisbon copies of the

           documents seized. The Court has reviewed the documents and the overwhelming

           majority of them clearly fall within the express terms of the warrant.5

                 Third, while Lisbon contended that “extensive banking and financial

           information” was seized, [Doc. 194 at 13], those records were subject to seizure as

           “[i]ndicia of identity and/or occupancy.” See United States v. Blakeney, 942 F.2d 1001,

           1027 (6th Cir. 1991) (holding that since specific examples of documents proving

           ownership or residency were already included, a clause authorizing “indicia of

           occupancy, residency and/or ownership of the premises” did not violate particularity;

           such documents would tend to prove facts that would be relevant in establishing the

           identity of the perpetrators of the robbery).

                 As a result, Lisbon was not entitled to an evidentiary hearing on the issuance and

           execution of the search warrant at 1899 Trotti Street. Therefore, having rejected


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                        These documents will be filed under seal along with this R&R for
           purposes of review.

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           Lisbon’s other arguments as to the search, the undersigned RECOMMENDS that

           Lisbon’s motions directed at suppressing the fruits of the search at 1899 Trotti Street

           be DENIED.

                   B.    335 West Ponce de Leon Avenue, Unit 210, Decatur, Georgia
                         (No. 1:10-MJ-784-LTW, issued June 11, 2010) [Doc. 203-2].

                   Lisbon also was not entitled to an evidentiary hearing as to the search by warrant

           of W. Ponce. He argued that probable cause was lacking for the issuance of the warrant

           since    there   was    no   nexus    between     that   location   and    any   criminal

           activity. [Doc. 194 at 19-20].

                   The affidavit in support of the warrant related that David G. Noe, the affiant, was

           a DEA Task Force Agent, with over 20 years experience in investigating violations of

           the narcotics laws. He also had extensive training in the investigation of drug

           trafficking and drug organizations. [Doc. 203-2 at 2-4]. Based on his training and

           experience, Noe testified in the affidavit that

                   ...

                   (c) Drug traffickers must maintain and have quick access to large
                   amounts of United States currency or other liquid assets in order to
                   maintain and finance their ongoing drug business.

                   (d) Drug traffickers often maintain in their residences and/or business
                   establishments computerized or written books, records, receipts, diaries,

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                 notes, ledgers, airline tickets, cashier’s checks, money orders and other
                 papers relating to the transportation, ordering, sale and distribution of
                 controlled substances and the outstanding debts and collections from
                 controlled substances that have been distributed.

                 (e) Drug traffickers commonly conceal contraband, proceeds of drug
                 transactions, records of these transactions, and records reflecting names,
                 nicknames, addresses and telephone numbers of drug associates within
                 their residence and/or places of business, their business vehicles, or the
                 curtilage of their residences or businesses for ready access and to hide
                 them from law enforcement agencies.

                 (f)    Drug traffickers commonly maintain records at their residences
                 and/or places of business reflecting names, nicknames, addresses and
                 telephone numbers of their current and past drug associates; based on my
                 training and experience, it is common for drug traffickers who provide
                 controlled substances for distribution on a consignment sale basis to create
                 records or ledgers in order to assist them in the collection of drug
                 debts. . . . Based on my experience, drug traffickers also use cellular
                 telephones, pagers, Blackberry’s and similar electronic devices to retain
                 information, including contact names and phone numbers of other drug
                 traffickers and customers.

                 ...

                 (h) Drug traffickers will commonly conceal within their vehicles,
                 residence or businesses, or within the curtilage of their residence or
                 businesses, caches of drugs, large amount of currency, firearms, financial
                 instruments, precious metals, precious gemstones, jewelry, electronic
                 equipment, and other items of value and/or proceeds of drug transactions
                 and evidence of financial transactions relating to obtaining, transferring,
                 secreting, or spending large sums of money made in drug trafficking
                 activities.

           [Doc. 203-2 at 9-11].

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                  Noe also recounted in the affidavit how law enforcement had been investigating

           a Mexico-based drug trafficking organization with distribution cells in Atlanta and

           elsewhere. Jose Trinidad Ayala-Baez, a/k/a Trino, was one of the cell’s leaders in

           Atlanta, who in turn took directions from “Burra” in Mexico. Investigation of the

           organization had led to the discovery of 33 kilograms of cocaine and over $1.5 million

           on January 13, 2010, and 15 kilograms of cocaine on January 29, 2010. [Id. at 14].

           In September 2009, agents intercepted telephone calls detailing the organization’s

           turning over a vehicle with a secret compartment to one of its customers. Surveillance

           showed Trino and others arriving at an address and then “Tin,” one of Trino’s workers,

           delivering a pickup truck (registered to Lisbon at 713McKoy Street, Decatur, Georgia)

           to 1827 Lomita Road, S.E., Atlanta, Georgia. A pole camera at that location showed

           a significant amount of short-term visitors at that location, and on June 4, 2010, agents

           stopped a car that had just driven away from that residence. The driver, who was found

           to be in possession of a small amount of cocaine, stated that she purchased small

           amounts of cocaine from a tall black male at that location 4 to 5 times

           a month. [Id. at 14-17].

                 The affidavit also related that Trino was intercepted on a telephone call on

           May 21, 2010, being instructed by Burra to deliver 10 kilograms of cocaine to

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           “Bebe.” [Id. at 23]. Following Trino’s arrest on June 9, 2010, he cooperated and

           identified Bebe as a black male customer to whom, on Burra’s instructions, Trino

           delivered cocaine. Trino also picked up drug money from Bebe. Trino identified

           Lisbon’s photograph in a photographic lineup as “Bebe.” Trino stated that the pickup

           truck with the hidden compartment was delivered to Lisbon at the Lomita residence.

           Trino also stated he picked up drug proceeds from Lisbon at Trotti within the past

           couple of weeks.      He further admitted to delivering to Lisbon approximately

           50 kilograms of cocaine during the preceding 10 months, and picking up drug money

           directly from Lisbon on three occasions and sending Tin on other occasions. He stated

           that Lisbon drove a brown, late-model Chevrolet Impala. [Id. at 24-25]. An agent

           observed a gold Chevrolet Impala parked adjacent to Trotti and determined that the

           vehicle was registered to Trotti Used Cars at that address. [Id. at 26].

                 Probable cause to support a search warrant exists when the totality of the

           circumstances allow a conclusion that there is a fair probability of finding contraband

           or evidence at a particular location. See United States v. Gonzalez, 940 F.2d 1413,

           1419 (11th Cir. 1991). “[P]robable cause is a fluid concept - - turning on the assessment

           of probabilities in particular factual contexts[.]” Illinois v. Gates, 462 U.S. 213, 232

           (1983). The task of the issuing magistrate judge in determining whether to issue a

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           warrant “is simply to make a practical, common-sense decision whether, given all the

           circumstances set forth in the affidavit before him, including the ‘veracity’ and ‘basis

           of knowledge’ of persons supplying hearsay information, there is a fair probability that

           contraband or evidence of a crime will be found in a particular place.” Id.; United

           States v. Jiminez, 242 F.3d 1243, 1248 (11th Cir. 2000). The issuing magistrate judge

           may credit statements of a declarant containing admission of criminal conduct. United

           States v. Harris, 403 U.S. 573, 583-84 (1971) (“Admissions of crime, like admissions

           against proprietary interests, carry their own indicia of credibility - - sufficient at least

           to support a finding of probable cause to search. That the informant may be paid or

           promised a ‘break’ does not eliminate the residual risk and opprobrium of having

           admitted criminal conduct. Concededly admissions of crime do not always lend

           credibility to contemporaneous or later accusations of another.              But here the

           informant’s admission that over a long period and currently he had been buying illicit

           liquor on certain premises, itself and without more, implicated that property and

           furnished probable cause to search.”).

                  Then, the task of a reviewing court is not to conduct a de novo determination of

           probable cause, but only to determine whether there is substantial evidence in the

           record supporting the magistrate judge’s decision to issue the warrant. Massachusetts

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           v. Upton, 466 U.S. 727, 728 (1984). Reviewing courts must not interpret supporting

           affidavits in a hypertechnical manner; rather, a realistic and commonsense approach

           should be employed so as to encourage recourse to the warrant process and to promote

           the high level of deference traditionally given to magistrates in their probable cause

           determinations.   Gates, 462 U.S. at 236-37 (citing United States v. Ventresca,

           380 U.S. 102, 109 (1965)). “[P]robable cause must exist when the magistrate judge

           issues the search warrant,” United States v. Santa, 236 F.3d 662, 672 (11th Cir. 2000)

           (quoting United States v. Harris, 20 F.3d 445, 450 (11th Cir. 1994)), because a search

           is not to be made legal by what it turns up, United States v. Di Re, 332 U.S. 581, 595

           (1948).

                 An affidavit in support of a search warrant for a suspect’s residence “should

           establish a connection between the defendant and the residence to be searched and a

           link between the residence and any criminal activity.” United States v. Martin,

           297 F.3d 1308, 1314 (11th Cir. 2002). Thus, where a warrant to search a residence is

           sought, the affidavit must supply the authorizing magistrate judge with a reasonable

           basis for concluding that Defendant might keep evidence of his crimes at his home, i.e.,

           a “safe yet accessible place.” United States v. Kapordelis, 569 F.3d 1291, 1310

           (11th Cir. 2009) (quoting United States v. Feliz, 182 F.3d 82, 87-88 (1st Cir. 1999)).

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           “[T]he nexus between the objects to be seized and the premises searched can be

           established from the particular circumstances involved and need not rest on direct

           observation.”   United States v. Lockett, 674 F.2d 843, 846 (11th Cir. 1982).

           With regard to a suspect’s home, the Kapordelis Court reiterated that:

                 “[t]he justification for allowing a search of a person’s residence when that
                 person is suspected of criminal activity is the common-sense realization
                 that one tends to conceal fruits and instrumentalities of a crime in a place
                 to which easy access may be had and in which privacy is nevertheless
                 maintained. In normal situations, few places are more convenient than
                 one’s residence for use in planning criminal activities and hiding fruits of
                 a crime.”

           Kapordelis, 569 F.3d at 1310 (quoting United States v. Green, 634 F.2d 222, 226

           (5th Cir. Unit B Jan. 1981)). The Kapordelis Court continued:

                 There need not be an allegation that the illegal activity occurred at the
                 location to be searched, for example the home, but “the affidavit should
                 establish a connection between the defendant and the residence to be
                 searched and a link between the residence and any criminal activity.” [ ]
                 Martin, 297 F.3d [at] 1314 [ ]; see United States v. Anton, 546 F.3d 1355,
                 1358 (11th Cir. 2008) (evidence of possession of contraband of type
                 normally expected to be hidden in residence will support search); United
                 States v. Jenkins, 901 F.2d 1075, 1080-81 (11th Cir. 1990) (nexus between
                 items to be seized and defendant’s home can be established
                 circumstantially where contraband is capable of being hidden in
                 residence). But see Green, 634 F.2d at 226 (convenience of defendant’s
                 residence “for use as a place to plan and hide fruits of the crime [was] thus
                 diminished, if not eliminated” where alleged obstruction of justice,
                 suborning of perjury, and violations of citizen’s civil rights took place



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                 thousands of miles from home in absence of other evidence linking
                 residence and the criminal activity).

           569 F.3d at 1310.

                 In this case, probable cause supported the issuing magistrate judge’s conclusion

           that there was sufficient reason to believe that evidence of Lisbon’s drug trafficking

           would be found at W. Ponce. The affidavit clearly established that Lisbon had

           committed violations of 21 U.S.C. §§ 841 and 846. The affidavit further demonstrated

           that the W. Ponce apartment was one of Lisbon’s residences. Noe had extensive

           experience in investigating drug traffickers and averred that the residence was a likely

           hiding place for contraband and evidence of Lisbon’s crime. “These combined facts

           would warrant a person of reasonable caution to believe that a search of [Lisbon’s]

           home would uncover evidence of [drug trafficking].” Jenkins, 901 F.2d at 1081;

           see also id. (“This is not to say that the isolated word of an experienced FBI agent that

           people hide stolen items in their homes is sufficient to provide probable cause to search

           a residence. Nor does probable cause to believe that the defendant has stolen something

           justify search of a residence. We hold, however, that the combination of a finding of

           probable cause that Jenkins committed the theft, the fact that the contraband stolen was

           composed of items which are capable of being hidden in a residence, and the statement



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           of an agent who had ten years’ experience investigating bank robberies provided

           sufficient probable cause to justify a search of Jenkins’ home.”); Anton,

           546 F.3d at 1358 (holding that warrant was supported by probable cause where

           affidavit recounted that (1) agents observed Anton with firearms at several gun shows;

           (2) confidential informant indicated that Anton would attend a specific gun show and

           claimed to be in possession of over 300 firearms; (3) based upon agent’s experience,

           convicted felons and firearms dealers possessing contraband typically store these items

           on their property; and (4) Anton’s trailer was observed at multiple gun shows). Thus,

           the Court rejects Lisbon’s probable-cause challenge.

                 Lisbon’s remaining challenges about the W. Ponce search by warrant are

           identical to the arguments he made with regard to Trotti; that is, the warrant’s

           description of “identification documents and mail” was in violation of the particularity

           requirement, and the executing agents exceeded the terms of the warrant when they

           seized “extensive banking and financial information.” These arguments are rejected

           for the same reasons set forth in relation to the Trotti search.

                 Because the Court concludes that the Trotti and W. Ponce warrants were validly

           issued and executed, the Court need not address in detail the parties’ arguments about

           the application of the good-faith exception to the exclusionary rule as set out in United

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           States v. Leon, 468 U.S. 897, 913 (1984). In Leon, the Supreme Court established a

           “good faith” exception to the exclusionary rule to prevent suppression of the items

           found pursuant to a search warrant. Under Leon, 468 U.S. at 913, the good-faith

           exception to the rule requiring the suppression of evidence for Fourth Amendment

           violations keeps evidence from being suppressed when law-enforcement officers obtain

           evidence through objective, good-faith reliance on a facially valid warrant that is later

           found to lack probable cause. See United States v. Gonzalez, 969 F.2d 999, 1004 n.4

           (11th Cir. 1992). Nevertheless, “it is clear that in some circumstances the officer will

           have no reasonable grounds for believing that the warrant was properly issued.” Leon,

           468 U.S. at 922-23. Leon’s good-faith exception does not apply to the following

           situations: (1) where the magistrate in issuing a warrant was misled by information in

           an affidavit that the affiant knew was false or would have known was false except for

           his reckless disregard of the truth; (2) where the issuing magistrate wholly abandoned

           his judicial role; (3) where the affidavit supporting the warrant is so lacking in indicia

           of probable cause as to render official belief in its existence entirely unreasonable; and

           (4) where, depending upon the circumstances of the particular case, a warrant is so

           facially deficient - - i.e., in failing to particularize the place to be searched or the things

           to be seized - - that the executing officers cannot reasonably presume it to be valid.

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           United States v. Robinson, 336 F.3d 1293, 1296 (11th Cir. 2003). Thus, under Leon’s

           third exception, the affidavit must not be a “bare-bones” statement containing nothing

           more than conclusory allegations. See Leon, 468 U.S. at 915; United States v. Glinton,

           154 F.3d 1245, 1257 (11th Cir. 1998).

                 The Court does not find that the affidavit was so lacking in probable cause as to

           render official belief in its existence entirely unreasonable. Robinson, 336 F.3d

           at 1296. The affidavit set forth an extensive drug-smuggling and -distribution network

           with which Lisbon was associated, and as to whose activities Lisbon utilized both his

           vehicles and residences. As a result, even if probable cause did not exist to issue the

           W. Ponce search warrant, the evidence seized should not be excluded from Lisbon’s

           trial on account of the good-faith exception to the exclusionary rule.

                 Accordingly, the undersigned RECOMMENDS that Lisbon’s motions to

           suppress challenging the search warrant for W. Ponce be DENIED.




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                 C.     Safe deposit boxes: Bank of America Safe Deposit Box
                        #C-128, (No. 1:10-MJ-825-LTW, issued June 15, 2010)
                        [Doc. 203-3]; SunTrust Bank Safe Deposit Box #214
                        (No. 1:10-MJ-828, issued June 15, 2010) [Doc. 203-4];
                        Wachovia Bank Safe Deposit Box #089 (No. 1:10-MJ-827,
                        issued June 15, 2010 [Doc. 203-5]

                 Lisbon moved to suppress three search warrants for safe-deposit boxes, Bank of

           America Safe Deposit Box # C-128, located in Conyers, Georgia, [search warrant

           located in the record at Doc. 203-3]; Wachovia Safe Deposit Box # 089, located in

           McDonough, Georgia,6 [Doc. 203-5]; and SunTrust Bank Safe Deposit Box # 214,

           located in Conyers, Georgia, [Doc. 203-4]. (See Amended Motion to Suppress,

           [Doc. 194]). The Court initially denied Lisbon an evidentiary hearing on his motions

           to suppress the results of the searches of those boxes, [Doc. 242 at 27-28], because his

           contentions that the searches were invalid were premised solely on the fact that these

           warrants were fruits of the unlawful searches by warrant at Trotti and W. Ponce,

           [see Doc. 194 at 6, 24]. Since the Court rejected Lisbon’s challenges as to the

           sufficiency and execution of those search warrants, it followed that the warrants for the

           safe-deposit boxes were not invalid as fruits of any prior unlawful search.




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                        An additional Wachovia Bank safe-deposit box, # 208, was also searched,
           but the box was empty. [See Doc. 203 at 1 n.1].

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                 As will be shown below, the evidence presented as to the warrantless search at

           W. Ponce presented a colorable claim that the three safe-deposit-box search warrants

           were tainted by the fruits of the warrantless search. The Court discusses below the

           propriety of the safe-deposit-box warrants in light of that warrantless search and in light

           of Lisbon’s arguments that these warrants were fruits of unlawful warrantless searches

           of W. Ponce and an automobile at that address.

           II.   Searches as to which Lisbon was entitled to an evidentiary hearing

                 A.     Facts

                 As noted in the Court’s previous order, Lisbon was entitled to an evidentiary

           hearing on the warrantless search at W. Ponce at the time of his arrest, including the

           search of his automobile, which resulted in the seizure of the two cellular telephones

           in the apartment, Lisbon’s wallet in his automobile, and a two sets of keys, one in a pair

           of pants he put on following his arrest and one in the automobile. These seizures in

           turn potentially impacted the searches by warrant of the three safe-deposit boxes.

                 The evidentiary-hearing record discloses that on Friday, June 11, 2010, DEA

           Task Force Officer David Noe,7 along with several other DEA agents and task-force

                 7
                        Noe is a Clayton County Sheriff’s Deputy who has been assigned to a
           DEA Task Force for over 10 years. He has been in law enforcement over 28 years,
           with 23 of those in narcotics-related investigations. T1-6. He had been an agent in

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           officers,8 went to the W. Ponce apartment to arrest Lisbon on the federal arrest warrant

           issued following the indictment in this case. T1-7. At that time, the agents did not have

           a search warrant either for the premises or any automobiles. T1-24. The complex in

           which Lisbon lived required an electronic card to access the living-units area and the

           parking garage. T1-26. It appears that the agents gained entry to the development from

           the complex management. Id.

                 The agents knocked on the door to Lisbon’s apartment and Lisbon answered the

           door. Noe asked him if he was “Artis Lisbon.” Lisbon acknowledged his identity and

           Noe told him he had an arrest warrant for him. T1-7, 27.9

                 Lisbon’s apartment was a one-room flat comprised of a sleeping section,

           living-room section and kitchen. T1-8. Although internal walls separated the three

           sections in the unit, the bedroom area was visible from the living room. T1-9.




           federal wiretap investigations since 1997. T1-7.
                 8
                       The other officers were DEA Special Agent Daniel, Task Force Agent
           Smith and two other law enforcement officers who were not identified in the record.
           T1-16.
                 9
                        The agents were familiar with Lisbon’s appearance because they had
           surveilled him. The agents also had seen booking photographs of him because Lisbon
           had eight or nine prior arrests. T1-27.

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                 At the time of his arrest, Lisbon was dressed in his boxer shorts and asked if he

           could get dressed. T1-9, T1-62. Agents performed a security sweep of the apartment

           to ensure no one else was present, and then escorted him to the bedroom area so he

           could get dressed. T1-9, T1-62. Lisbon pointed out a shirt, a pair of pants and shoes

           he wanted to wear, and the agents searched them. T1-9, T1-62. A set of keys were

           located and removed from the pants before giving them to Lisbon to wear. T1-15,

           T1-30.

                 Noe read Lisbon Miranda rights from a card and asked Lisbon if he would

           consent to a search of the apartment. Lisbon stated that Noe would have to get a

           warrant. Noe stated he would. T1-8.

                 Before Lisbon was removed from the apartment, Noe asked him for his

           identification. T1-9.10 Lisbon stated it was in his wallet in the center console of his

           automobile. T1-10, T1-30-31, T1-51. However, Lisbon was not asked if the officers

           could enter his vehicle to get the wallet. T1-32.

                 As the agents escorted Lisbon from the apartment, Lisbon asked if he could take

           his cell phones, and Noe asked him where they were located. T1-9, 10. Lisbon

                 10
                        Noe testified that it was his habit to ask arrestees for identification,
           because it facilitated filling out the personal information sheet for booking purposes,
           even though, in this instance, he knew the arrestee. T1-23, T1-33.

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           responded that they were on the coffee table. Noe knew that Lisbon would not be able

           to take the cell phones to jail. T1-28. The agents had observed the cell phones on the

           coffee table while sweeping the apartment. T1-42, T1-48. Noe seized them. T10.11

           No cell phone subscribed to Lisbon had been intercepted during the investigation, but

           law enforcement did identify cell phones he was using during the investigation. T1-35,

           T1-36. For example, Lisbon was intercepted speaking with co-conspirators Keyna and

           Burra, who were located in Mexico, when he borrowed a cell phone from someone else.

           T1-42.12

                 The agents were in Lisbon’s apartment for 10 to 15 minutes before escorting him

           out. T1-15. They exited through the enclosed, gated parking area below the apartment

           units. Lisbon pointed his head in direction of his vehicle, a gold Malibu, and verbally

           indicated to the agents where it was parked. T1-16, T1-34, T1-50. Agents had seen

           Lisbon in this car some weeks before Lisbon’s arrest. T1-24. A cooperating defendant


                 11
                       Noe explained that the indictment in Lisbon’s case was preceded by a
           wiretap investigation that involved almost 50 separate telephones. T1-13.
                 12
                         The investigation led agents to believe that the conspirators in Mexico
           were directing workers in Atlanta to deliver controlled substances to Lisbon. The
           agents believed that Lisbon was using cell phones to communicate with his sources in
           Mexico. However, most of the telephones the agents believed Lisbon was using were
           no longer being used by him by the time they were identified through the agents’
           analysis of toll records. T1-43-44.

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           had described “that car when he had conducted meetings to either pick up money or

           proceeds of drug sales or turn over drugs to” Lisbon. T1-18.13 Using the keys seized

           from Lisbon’s pants, Agent Daniel unlocked the vehicle and retrieved Lisbon’s wallet

           and another set of keys. T1-17, T1-41.14, 15 The keys included safe-deposit-box keys.

           T1-36.16

                 13
                        Noe testified that in his experience, he had seized cell phones, telephone
           records, drug records and logs, contacts, drugs, drug paraphernalia and wrapping
           material when searching vehicles belonging to persons engaged in the drug trade, and
           also had found hidden compartments in their vehicles. T1-22.
                 14
                         Agents previously had seen the gold Malibu during their investigation,
           when it was at Trotti, although it was described as an Impala in the Trotti search
           warrant issued the previous evening at 6:10 p.m. [Doc. 203-1 at 2, 26]. Further, one of
           the cooperating defendants described Lisbon’s vehicle as a gold, late-model sedan,
           which he called an Impala. Noe also testified that the vehicle had a dealer drive-out tag
           registered to Trotti Auto Sales. T1-18-19, T1-59. The agents saw the vehicle parked
           in the designated spot for Unit 210 when they arrived that morning at W. Ponce to
           arrest Lisbon. T1-60.
                 15
                       Noe testified that if he had not had possessed the keys to the Malibu, the
           agents would have attempted to enter it with a “slim jim.” T2-8.
                 16
                        Daniel testified that he took the set of keys from the Malibu because he
           knew they would later be searching the Trotti location and he wanted to use a key to
           gain entry instead of breaking down the doors. T1-52. (The search warrant had been
           issued on June 10, 2010, at 6:10 pm. [Doc. 203-1 at 2]). He did not notice safe-deposit
           keys on the key ring at the time he seized the keys from the Malibu. T1-52.

                 The keys seized from the Malibu contained 15 to 18 keys. Three
           safe-deposit-box rings were on their own key ring attached to the larger key ring. T2-4.
           The safe-deposit keys did not indicate the box number, bank, or branch. T2-4.

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                 Noe examined the wallet’s contents on Friday, June 11, 2010, at his office after

           executing the Trotti search warrant. T2-9.17 When he opened the wallet to get Lisbon’s

           driver’s license, he saw a business card with a bank name and account numbers, as well

           as bank-account numbers and balances and safe-deposit-box numbers. T1-37-39; T1-

           65-66; T2-11; Def. Exhs. 1 at 6-8, 2 at 9. To Noe, this evidence corroborated the

           financial-record evidence he found at Trotti18 and subsequently at W. Ponce. T2-12.

                 Noe obtained a search warrant for W. Ponce on the same day as Lisbon’s arrest,

           June 11, 2010, at 12:25 pm. T1-12, T1-64; Gov’t Exh. 1. The search warrant

           authorized seizure and search of cell phones. T1-13. The W. Ponce warrant was

           executed that day. T2-12. As a result of executing that search warrant, financial


                  The DEA later seized the vehicle. T1-53. Prior to obtaining search warrants for
           safe-deposit boxes, agents called the banks and inquired about the existence of any
           safe-deposit boxes associated with Lisbon. T1-68. Although the agents were aware of
           most of the safe-deposit boxes prior to calling the banks, the calls resulted in discovery
           of one box unknown to law enforcement. T1-69. The three keys were used to open the
           three safe-deposit boxes once the warrants were obtained, T1-56, while a locksmith
           drilled open the fourth box. T2-5.
                 17
                      Following the Trotti search, Noe returned to his office and drafted the
           W. Ponce search warrant. T2-9.
                 18
                        The bank-record information seized from Trotti was comprised of the
           following documents: (1) a Bank of America statement for Trotti Used Car Sales
           Inc. for April 2010 (Gov’t Exh. 5 at unnumbered pages 34-36); and (2) a copy of a
           SunTrust official check dated March 22, 2010 (id. at 53). See also T2-10.

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           records, including documents reflecting a bank record, were seized. T1-64; T2-12;

           Gov’t Exh. 2.19

                 Noe further searched the wallet on the following Monday. T1-64; T2-13. As a

           result of seeing financial records in executing the search warrants at Trotti and

           W. Ponce, as well as seeing the papers in the wallet, Noe directed another agent to call

           the banks the next day. T2-13, T2-18, T2-23. However, no documents from Wachovia

           were located during the searches, and Noe conceded that he directed the call to

           Wachovia Bank because of the documents found in Lisbon’s wallet. T2-20, T2-21.

           Wachovia, SunTrust, and Bank of America told law enforcement which accounts and

           safe-deposit boxes Lisbon had at their respective banks. T2-21. As a result of those

           calls, the agents learned of two additional accounts of which they were previously

           unaware. T2-16. Then, Noe drafted an affidavit in support of a search warrant for each

           of the accounts or boxes. T2-22. He did not advise the issuing magistrate judge that

           he learned of the safe-deposit boxes from searching Lisbon’s vehicle without a warrant.

           T2-22.




                 19
                        The bank record seized from W. Ponce was a SunTrust deposit slip. Gov’t
           Exh. 2 at unnumbered page 4.

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                 B.     Contentions of the parties

                 Following the first evidentiary hearing, Lisbon filed his second amended motion

           to suppress, [Doc. 256],20 in which he contended that the search warrants for the

           safe-deposit boxes were the fruits of the illegal warrantless search of his apartment and

           automobile at the time of his arrest.21


                 20
                          Lisbon argues that his second amended suppression motion was timely
           filed, or that if not timely should in any event be considered on the merits. [Doc. 256
           at 5-7]. He first argues that this motion relates back to his arguments in his initial and
           amended motions that all fruits of the warrantless search at W. Ponce be suppressed,
           since the search of the safe deposit boxes resulted from that earlier search. [Id. at 7].
           Also, he argues that since the Court heard evidence about how items seized from
           W. Ponce impacted the subsequent search of the safe-deposit boxes and the government
           argued that the search of the safe-deposit boxes was not tainted, the Court should
           address the second amended motion on its merits. [Id. at 9].

                  The Court concludes that although Lisbon initially only argued that the
           safe-deposit box warrants were defective because they were fruits of previously issued
           search warrants that were not supported by probable cause, [see Doc. 194 at 6, 24], the
           second amended motion is timely. First, it relates back to the initial motions, and the
           evidence presented at the first evidentiary hearing raised a colorable claim that the
           seizure of the wallet and keys from Lisbon’s residence and automobile were in
           violation of the Fourth Amendment. Second, the government did not raise a timeliness
           issue as to this motion. [See generally Dkt., Doc. 266]. As a result, the Court will
           address the merits of the second amended motion.
                 21
                         In fact, he argued that the application for the search warrants for the
           safe-deposit boxes did not describe with any detail the warrantless search of Lisbon’s
           residence or automobile as demonstrated by the evidentiary-hearing evidence, but
           rather stated:


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                 In its first post-evidentiary-hearing brief, the government first contends that the

           cell phones were lawfully seized pursuant to the plain-view doctrine.

           [Doc. 266 at 11]. It argues that while plain view requires that the probable cause that

           the object in plain view is contraband or evidence be “immediately apparent,” the

           doctrine does not require an “unduly high degree of certainty as to the incriminatory

           character of evidence” or that police “ ‘know’ that certain items are contraband or

           evidence of a crime,” (quoting Texas v. Brown, 460 U.S. 730, 741 (1983)). [Doc. 266

           at 11].   The government points out that courts have held that cell phones in

           drug-trafficking investigations may come within the plain-view exception “as items

           akin to contraband, in that they are often tools of . . . drug-trafficking,” (quoting United

           States v. Santillan, 571 F. Supp. 2d 1093, 1100-01 (D. Ariz. 2008) (citation

           omitted)). [Doc. 266 at 13]. It then contends that in this case, the investigation

           involved intercepting approximately 26 cell phones, which resulted in agents



                 27. During the search of 1899 Trotti Street and 335 W. Ponce de Leon
                 Ave apt #210, agents located numerous deposit slips, references to bank
                 accounts and safety deposit boxes at Bank of America, Sun Trust and
                 Wachovia Banks. TFO Jeff Shelton made contact with Bank of America,
                 Sun Trust Bank and Wachovia Bank to confirm that Artis Lisbon holds
                 the following accounts and safety deposit boxes.

           [Doc. 256 at 10 (quoting Doc. 203-5 at 30].

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           overhearing conversations (corroborated by Trino’s post-arrest statements) that Lisbon

           was receiving drugs from the organization and money was being picked up by the

           organization from Lisbon. Thus, consistent with Noe’s testimony that drug trafficker’s

           cell phones often contain evidence of co-conspirator contacts and text messages

           indicating criminal activity, there was probable cause to believe that Lisbon’s cell

           phones contained evidence of criminal activity. [Id. at 14]. The government then

           contends that because the cell phones were properly seized pursuant to the plain-view

           doctrine, they did not need to be searched contemporaneously, and in any event no

           search warrant to search them was needed. [Id. at 15]. Alternatively, the government

           argues (1) that the subsequent search warrant for the W. Ponce apartment authorized

           the seizure and search of cell phones, [id. at 15 & n.9 (citing Doc. 203-2 at 2)], and

           (2) the independent-source doctrine justified the search, since the cell phones would

           have been searched pursuant to the warrant for W. Ponce. [Id. at 15].

                 Next, the government argues that the search of the Malibu’s console was justified

           under the “automobile exception” to the warrant requirement, since there was probable

           cause to believe that the vehicle contained evidence of Lisbon’s drug trafficking. [Id. at

           18]. In addition to intercepted phone calls demonstrating that drugs were being

           delivered to Lisbon and one intercepted call reflecting that a pickup truck registered to

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           Lisbon contained a secret compartment, agents had seen the gold Malibu at the Trotti

           location, and Trino had indicated that Lisbon used a gold or light-brown vehicle in his

           drug-trafficking activities. [Id. at 19]. The government submits that this evidence,

           combined with Noe’s testimony that in his experience, drug traffickers’ vehicles often

           contains relevant evidence of their drug crimes, established probable cause to believe

           that the Malibu contained evidence of Lisbon’s drug activities. [Id. at 20]. Further, the

           government posits that the agents’ actual intent at the time the Malibu was searched is

           irrelevant and that law enforcement could seize the wallet and search it at a later time,

           relying on United States v. Johns, 469 U.S. 478 (1985), and United States v. Weber,

           808 F.2d 1422 (11th Cir. 1987). [Doc. 266 at 22].

                 Next, the government argues that the same legal principles governed the seizure

           of the keys from the Malibu. In this regard, the government contends that there was

           probable cause to seize the keys because they established Lisbon’s connection to

           Trotti. [Id. at 23-24].

                 The government further argues that the facts indicated that Lisbon impliedly

           consented to the search of the center console of the Malibu when he told Noe where his

           wallet was and pointed his head in the direction of the car. [Id. at 24-29].




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                 Next, the government contends that the searches of the cell phones, wallet, and

           keys were lawful under the independent-source doctrine. [Id. at 29]. It argues that the

           same items would have been discovered, seized, and searched once the W. Ponce search

           warrant was obtained a few hours after Lisbon’s arrest. [Id. at 29-31].

                 Finally, the government argues that the safe-deposit-box search warrants were

           not tainted by the seizure of the cell phones and warrantless search of the Malibu. It

           argues that the cell phones and keys were not mentioned in the safe-deposit-box

           warrant applications. [Id. at 32]. The government asks that the evidentiary record be

           re-opened to allow it to show that the discovery of financial records at Trotti and

           W. Ponce would have resulted in the calling of the banks and discovery of the existence

           of the safe-deposit boxes.22 [Id. at 33-35].

                 In response after the first evidentiary hearing, Lisbon first argues that Noe’s

           testimony about how the cell phones were seized was inherently incredible. Lisbon

           acknowledges that the agents were legitimately on the premises, given their arrest

           warrant for Lisbon and Lisbon’s state of undress, requiring entry into the apartment to

                 22
                          The government pointed out that seizure warrants were executed on
           various bank accounts at the same time the safe-deposit-box warrants were executed,
           resulting in the seizure of approximately $220,000 from seven accounts associated with
           Lisbon. A civil forfeiture action concerning those funds is pending but
           stayed. [Doc. 266 at 33 n.13].

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           get clothes. Nonetheless, he contends that Noe’s testimony was unworthy of belief

           because (1) it is highly unlikely that the agents, in conducting a protective sweep of the

           apartment, did not see the cell phones, and (2) since Noe said they were in plain view,

           it was unlikely that he had to ask Lisbon where the cell phones were located when

           Lisbon asked if he could take them as he was being escorted to jail. Similarly, Lisbon

           argues that since he had been to jail many times before and had to know that cell

           phones were contraband in jail, Noe’s testimony that Lisbon asked to take his cell

           phones to jail should be ignored as incredible. Further, Lisbon argues that Noe’s

           testimony about the seizure of the cell phones in this case was inconsistent with the

           seizure of cell phones in another case, United States v. Rodriguez-Alehjandro,

           664 F. Supp. 2d 1320, 1332-33 (N.D. Ga. 2009), where Noe also was involved and

           where the evidence was that during a protective sweep of the defendant’s apartment,

           the sweeping agents called out the discovery of the presence of cell phones as they went

           through the apartment. [Doc. 271 at 9-12]. In the present case, Lisbon argued, “it is

           highly dubious at best that trained DEA agents would have noticed cell phones during

           a protective sweep in a drug investigation and then ‘forgotten’ about them until

           allegedly ‘reminded’ by the defendant as they were leaving the premises.” [Id. at 12].




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                 He next argues that the cell phones could not be seized without a warrant because

           their incriminating nature was not immediately apparent, since Agent Daniel

           acknowledged that they were not unlawful or contraband per se. [Id. (citing T1-59)].

           He also attempted to distinguish the cases relied upon by the government, which posit

           that cell phones are tools of the drug trade. [Id. at 14]. In further support of his

           argument, Lisbon cited to United States v. Lall, 607 F.3d 1277, 1292 (11th Cir. 2010),

           where the Court found improper the warrantless seizure of equipment used by the

           defendant in furtherance of his fraud/identity-theft crimes because the officer testified

           that the criminal characteristics of the equipment were not immediately apparent to him

           at the time of the seizure, and United States v. Sokolow, 450 F.2d 324 (5th Cir. 1971),

           where the Court found that in an interstate theft case, air conditioners possessed by the

           defendant gave no indication that they were contraband or evidence of a

           crime. [Doc. 271 at 13-14].

                 Next, Lisbon argues that there was no probable cause to enter the Malibu without

           a warrant. [Doc. 271 at 15]. He contends that there was no probable cause because all

           the agents knew that Lisbon’s wallet and driver’s license were in the car, items which

           were neither contraband nor “tools” of the drug trade, and the agents were unaware that

           the wallet contained any incriminating evidence. [Id. at 15-16]. He points out that the

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           government only alleged that the vehicle was seen at Trotti and that a co-defendant

           stated that Lisbon drove a gold or light-brown sedan, facts he alleges do not establish

           probable cause. [Id. at 16].

                 Lisbon also argues that no exigent circumstances existed to search the vehicle

           without a warrant because the Malibu was in a controlled-access garage accessible only

           by a key card, Lisbon was going to jail, and there was no one associated with Lisbon

           in the area. [Id. at 16-17].

                 Next, Lisbon argues that he did not impliedly consent to a search of the vehicle

           simply by not voicing any objection while the arresting agents entered the

           Malibu. [Id. at 19-22]. He also contends that any implied consent to search the vehicle

           for his wallet did not extend to the search for and seizure of his keys in the center

           console. [Id. at 22].

                 He also challenges the government’s contention that the safe-deposit-box

           warrants are saved due to the independent-source doctrine, arguing that the doctrine

           does not apply where agents are motivated by the discovery that safe-deposit-box keys

           were on set of keys found in the Malibu. [Id. at 24-25]. He also claims that the

           doctrine was inapplicable since the warrant application omitted how the wallet and keys




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           were seized from the vehicle. [Id. at 25]. However, he agrees that the government

           could re-open the evidence to attempt to establish a lack of taint. [Id.].

                 Following the second evidentiary hearing, Lisbon notes that the affidavits in

           support of the search warrants for the safe-deposit-boxes identically provided as

           follows:

                 27. During the search of 1899 Trotti Street, and 335 W. Ponce De Leon
                 Ave apt #120, agents located numerous deposit slips, references to bank
                 accounts and safety deposit boxes at Bank of America, Sun Trust Bank
                 and Wachovia Banks. TFO Jeff Shelton made contact with Bank of
                 America, Sun Trust Bank and Wachovia Bank to confirm that Artis
                 Lisbon holds the following accounts and safety deposit boxes.

           [Doc. 292 at 4 (quoting Doc. 203-3 at 31, 203-4 at 31, and 203-5 at 31)]. He then

           argues that the items seized from these boxes must be suppressed because when the

           evidence illegally seized from his vehicle is excluded from the affidavits, probable

           cause was lacking to issue the warrants. [Id.].

                 In this regard, he first argues that the bank records seized by search warrant from

           Trotti and W. Ponce did not have his name on them, nor did they reference safe-deposit

           boxes or even mention Wachovia Bank. [Id. at 6]. Second, Lisbon claims that the

           search of the Malibu was unlawful and thus the evidence seized unlawfully from

           it - - the safe deposit box keys and his wallet - - cannot be used to establish probable



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           cause to search the safe-deposit boxes and bank accounts. [Id. at 6-7]. He also claims

           that Noe’s testimony - - that he had the banks called solely as a result of finding bank

           records (which did not have Lisbon’s name on them) during the Trotti and W. Ponce

           searches - - is incredible. [Id. at 7]. He further argues that nothing occurred between

           the seizure of his keys and wallet and the application for the seizure and search warrants

           directed at the banks in order to remove any taint from the unlawful warrantless

           search. [Id. at 7-8].

                 Lisbon next contends that the affidavits in support of the safe-deposit and seizure

           warrants contain material omissions made with an intent to mislead or at a minimum

           with reckless disregard for the truth, pursuant to Franks v. Delaware, 438 U.S. 154

           (1978). He contends that the affidavits omitted or misstated the following facts:

                 1.     Omission of any reference to the agents’ seizure of his car keys and
                        cellular telephones in his condominium at the time of his arrest;

                 2.     Omission of any reference to the warrantless search of his vehicle
                        parked at the condominium at the time of his arrest;

                 3.     Omission of any reference to the seizure of his key ring and wallet
                        from the vehicle;

                 4.     Omission of any reference that the agents had seized the actual keys
                        to the safe-deposit boxes;




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                 5.     Omission of any reference to Noe’s finding the bank account and
                        safe deposit box information in Lisbon’s wallet on June 11, 2010;
                        and

                 6.     A false statement that agents located deposits slips or references to
                        bank accounts or safe-deposit boxes at Wachovia Bank.

           [Doc. 292 at 9]. He then contends that Noe intentionally omitted or misstated this

           information because Noe testified that he only presented in the affidavits the

           information that he “needed to.” [Id. at 10 (quoting T2-22)]. Primarily relying upon

           United States v. Tate, 524 F.3d 449 (4th Cir. 2008), Lisbon argues that since the

           affidavits for the safe-deposit boxes and bank accounts in this case omitted any

           reference to the search of the Malibu and seizure of his wallet, keys, and financial

           information, which discussion was material to the finding of probable cause, the

           warrants were improperly issued. [Doc. 292 at 10-13].

                 In response, the government argues that the Malibu was properly searched

           pursuant to the automobile exception to the warrant requirement because there was

           probable cause and the vehicle was operational. [Doc. 293 at 1-2]. It also argues that

           as to probable cause, Lisbon ignored the evidence that (1) a cooperating codefendant

           described the vehicle’s use in Lisbon’s drug trafficking, and (2) Noe testified that, in




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           his experience, searching drug traffickers’ vehicles resulted in the seizure of evidence

           relevant to their crimes. [Id. at 2].

                  Next, the government responds that although the subjective intent of the seizing

           officers is not at issue, their experience as it relates to what a reasonably prudent officer

           would do in a similar situation is relevant, and thus the Court can consider the officers’

           reasonable beliefs as to whether there was probable cause to seize the two sets of

           keys. [Id.]. The government further argues that, in any event, the keys (and the

           automobile containing the wallet) would have been searched and seized following the

           execution of the search warrant later on that date. [Id. at 3 n.1]. It also argues that

           Lisbon did not address, and therefore has not countered, the government’s earlier

           argument that once probable cause existed as to the Malibu, law enforcement could

           seize any containers (including the wallet) from the vehicle and search them at a later

           time pursuant to Johns. [Id. at 3]. It alternatively argues that the search of the Malibu

           and seizure of the wallet were based on consent. [Id. at 3 n.2].

                  Further, the government argues that the uncontradicted evidence establishes that

           Lisbon asked for his cell phones and that regardless whether Noe saw them previously,

           their seizure was permissible under the plain-view doctrine. [Id. at 3-4]. It further




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           notes that Lisbon did not challenge the search of the cell phones on the grounds that a

           warrant was needed. [Id. at 4 n.3].

                 As to the safe-deposit boxes, the government first argues that Lisbon’s attempt

           in his final brief to raise a Franks claim should be rejected, but that in any event he has

           failed to satisfy his Franks burden. [Id. at 4-6]. Specifically, the government argues

           that Noe believed the keys and wallet were properly seized and that he included in the

           affidavits for the bank search warrants only that information that he believed he

           “needed to” assert in order to demonstrate probable cause, and thus there was neither

           intent to deceive nor reckless disregard for the truth. [Id. at 6-7]. It also contends that

           any omissions were not material, since what was seized from the apartment at the time

           of Lisbon’s arrest was irrelevant, and the safe-deposit box keys seized from the Malibu

           did not identify any particular bank, branch, or box number. [Id. at 7]. It further

           submits that Lisbon did not show which facts from the seizure of the wallet the affiant

           should have included in the warrant application, and the fact that the wallet was seized

           without a warrant would not have detracted from the showing of probable cause. [Id.].

           The government also argues that whether the warrantless seizure of the wallet was

           proper is not a Franks issue at all; rather, if it was illegally seized, the Court must

           undertake a taint analysis. [Id. at 7-8]. The government also distinguishes Tate on the

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           grounds that there, the defendant made a substantial showing that the affiant misled the

           judge relating to the only source of critical information contained in the warrant

           application. [Id. at 9-10].

                 Finally, the government argues that other than the warrants for Wachovia

           Bank - - since the warranted searches at Trotti and W. Ponce had uncovered financial

           records, leading Noe to direct his fellow agents to make inquiry of the banks - - the

           warrants for Bank of America and SunTrust did not exploit any unlawful search and

           sufficiently attenuated any taint from it. [Id. at 10-11]. Also, the government

           perfunctorily re-asserts its contention that the searches were saved by the

           independent-source doctrine and the good-faith exception. [Id. at 11].

                 C.     Discussion

                 The government searched for and seized five items without a warrant:

           (1) Lisbon’s keys located in his pants that he wanted to wear following his arrest;

           (2) the cell phones; (3) the Malibu; (4) the set of keys in the Malibu; and (5) Lisbon’s

           wallet in the Malibu. The Court will address the validity of each search and/or seizure

           in the order in which they were obtained by law enforcement.

                 The Fourth Amendment to the United States Constitution protects the right of

           persons to be free from unreasonable searches and seizures. U.S. Const. Amend. IV.

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           “It is a ‘basic principle of Fourth Amendment law’ that searches and seizures inside a

           home without a warrant are presumptively unreasonable.” Payton v. New York,

           445 U.S. 573, 586 (1980); United States v. Santa, 236 F.3d 662, 668 (11th Cir. 2000).

           Upon a motion to suppress evidence garnered through a warrantless search and seizure,

           the burden of proof as to the reasonableness of the search rests with the prosecution.

           United States v. Freire, 710 F.2d 1515, 1519 (11th Cir. 1983) (citing United States v.

           Impson, 482 F.2d 197 (5th Cir. 1973)). Thus, the government must demonstrate that

           the challenged action falls within one of the recognized exceptions to the warrant

           requirement, thereby rendering it reasonable within the meaning of the Fourth

           Amendment. Vale v. Louisiana, 399 U.S. 30, 34 (1969); United States v. Jeffers,

           342 U.S. 48, 51 (1951); Freire, supra.

                        1.    Keys in Lisbon’s pants

                 The government has not articulated a theory as to which exception to the warrant

           requirement is applicable to the keys removed from the pants that Lisbon wanted to

           wear following his arrest. However, “[a]n action is ‘reasonable’ under the Fourth

           Amendment, regardless of the individual officer’s state of mind, ‘as long as the

           circumstances, viewed objectively, justify the action.’ ” Brigham City v. Stuart,

           547 U.S. 398, 404 (2006) (quoting Scott v. United States, 436 U.S. 128, 138 (1978)).

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           Viewed objectively, the Court concludes that the keys were lawfully seized as a search

           incident to lawful arrest.

                 In United States v. Ricks, 817 F.2d 692 (11th Cir. 1987), the defendant, after a

           lawful arrest, was asked whether he wanted to put on a jacket. Id. at 694. When the

           defendant answered affirmatively, the arresting agents searched the jacket and found

           a number of pieces of paper with the names, telephone numbers, and addresses of two

           men indicted as co-defendants. Id. at 694-95. Citing to the “grab area” holding of

           Chimel v. California, 395 U.S. 752, 763 (1969), the Ricks Court held that the jacket

           became subject to a legitimate search when the agent handed it to the defendant, thus

           placing it within his “grab area.” Ricks, 817 F.2d at 696. Based on this conclusion, the

           court concluded that the search of the jacket was a search incident to a lawful arrest.

           Id.

                 The reasoning of the Ricks decision is fully applicable to the fact of this case.

           After he was lawfully arrested, Lisbon asked if he could get dressed and selected for

           the agents the pants he wanted to wear. As such, his pants were legitimately searched

           as incident to his lawful arrest because once he was given them to put on, they would

           be in his “grab area.”         See United States v. Salgado, Criminal Action

           No. 1:09-CR-454-CAP-ECS-5, 2010 WL 3062440, at *2 (N.D. Ga. June 12, 2010)

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           (Scofield, M.J.) (R&R) (concluding that Ricks authorized search incident to arrest

           where pants were searched prior to arrested defendant putting them on), adopted by

           2010 WL 3035755 (N.D. Ga. July 30, 2010) (Pannell, J.).

                 Alternatively, even if the keys to the Malibu were not properly seized incident

           to Lisbon’s arrest, as discussed below the officers had probable cause to search the

           Malibu regardless whether they possessed the car keys to gain entry.

                        2.    Cell phones

                 The Court concludes that the cell phones were properly seized pursuant to the

           plain-view doctrine.23 The plain-view doctrine permits a warrantless seizure where the

           officer is lawfully located in the place from which the seized object could be plainly

           viewed and has a lawful right of access to the object itself. United States v. Smith,

           459 F.3d 1276, 1290 (11th Cir. 2006). The officer may seize any item that he has

           probable cause to believe is contraband and any item whose incriminating nature is

           immediately apparent.      United States v. Ochoa, 402 Fed. Appx. 478, 484

           (11th Cir. Nov. 9, 2010) (citing Smith, id.); see also Texas v. Brown, 460 U.S. 730,

                 23
                         The government did not argue that Lisbon’s request for his cell phones
           makes their seizure similar to the seizure of the keys from Lisbon’s pants pocket. As
           a result, the Court does not discuss whether such an argument would be valid except
           to note that since Noe was not going to let Lisbon have the cell phones, they were not
           going to be within Lisbon’s “grab area.”

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           741-42 (1983) (reconsidering the “immediately apparent” language in Coolidge v. New

           Hampshire, 403 U.S. 443 (1971), and substituting a less-rigorous probable-cause

           standard for plain-view seizures). Probable cause to seize an item in plain view exists

           whenever the facts available to the searching officer support a reasonable belief that the

           item may be contraband, stolen property, or evidence of a crime.                  Brown,

           460 U.S. at 742. The plain-view doctrine, however, cannot be used to justify

           exploratory or investigative searches until “something incriminating at last emerges.”

           Coolidge, 403 U.S. at 446.

                 As previously noted, probable-cause issues are to be decided on an objective

           basis by courts without regard to the subjective beliefs of law-enforcement officers,

           whatever those beliefs may have been. See, e.g., Whren v. United States, 517 U.S. 806,

           813-14 (1996) (“Subjective intentions play no role in ordinary, probable-cause, Fourth

           Amendment analysis.”); Ornelas v. United States, 517 U.S. 690, 696 (1996) (probable

           cause is based upon evaluation of the “facts, viewed from the standpoint of an

           objectively reasonable police officer”); United States v. Roy, 869 F.2d 1427, 1433

           (11th Cir. 1989) (rejecting notion that probable cause turns on what law-enforcement

           officers think, and holding that “[c]ourts determine the existence of probable cause”);

           see also Horton v. California, 496 U.S. 128, 138 (1990) (“[E]venhanded law

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           enforcement is best achieved by the application of objective standards of conduct,

           rather than standards that depend upon the subjective state of mind of the officer.”).

                 The propriety of seizures under the plain-view doctrine are adjudicated on an

           objective basis. See Horton, 496 U.S. at 138 (rejecting argument that “plain view”

           seizure requires inadvertent discovery in part because of preference for “application of

           objective standards of conduct, rather than standards that depend upon the subjective

           state of mind of the officer”); cf. Scott v. United States, 436 U.S. 128, 138 (1978)

           (stating that “fact that the officer does not have the state of mind which is hypothecated

           by the reasons which provide the legal justification for the officer’s action does not

           invalidate the action taken as long as the circumstances, viewed objectively, justify that

           action”); United States v. Hromada, 49 F.3d 685, 691 (11th Cir. 1995) (“Just because

           the police officers were glad that they could capitalize on the opportunity by

           incidentally seeing what was in plain view is of no moment. Whether or not a Fourth

           Amendment violation has occurred depends upon objective reasonableness in light of

           the facts and circumstances.”) (citing Scott, 436 U.S. at 136).24

                 24
                         See also United States v. Stafford, 416 F.3d 1068, 1076 (9th Cir. 2005)
           (“The determination of whether the officers had probable cause to believe that the items
           seized were illegal, unlawful, or associated with criminal activity is objective, but we
           apply it to the ‘actual and/or perceived belief of the law enforcement officer as
           he . . . engages in search and seizure.’ . . . This standard does not require the officers

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                 In the present case, whether the officers observed the cell phones during the

           protective sweep is irrelevant.25 Rather, what is relevant is that the cell phones were in

           plain view and that, objectively, there was probable cause for their seizure. First, the

           evidence is uncontradicted that Lisbon directed the officers to the cell phones, which

           were sitting out in the open on a table.

                 Second, the Eleventh Circuit and numerous other federal appellate courts

           recognize that cell phones are “a known tool of the drug trade.” United States v. Nixon,

           918 F.2d 895, 900 (11th Cir. 1990); see also United States v. Lazcano-Villalobos,


           to know that the item seized is illegal.”) (citations omitted); Shamaeizadeh v. Cunigan,
           338 F.3d 535, 554 (6th Cir. 2003) (“Assuming that the officers were executing a valid
           warrant and thus were legally in a place where they saw the jewelry and documents in
           plain view, the seizure of these items during the execution of the first warrant was
           nevertheless unconstitutional because their incriminating character is not immediately
           apparent as an objective matter.”); United States v. Reed, 726 F.2d 339, 343
           (7th Cir. 1984) (“Executing officers, however, need not know that items in plain view
           were stolen before they may act on the items’ immediately apparent incriminating
           nature; a reasonable belief, using the probable cause formulation, is sufficient in the
           ordinary case.”) (citing, inter alia, Texas v. Brown, 460 U.S. 730 (1983)); United States
           v. Messino, 871 F. Supp. 1035, 1039 (N.D. Ill. 1995) (“The court finds no controlling
           precedent as to the objectivity of the immediate apparency requirement itself, but
           controlling cases discussing the objectivity of the Fourth Amendment reasonableness
           inquiry in general are read naturally to apply to this particular aspect of Fourth
           Amendment jurisprudence.”).
                 25
                         The Court therefore rejects Lisbon’s arguments that Noe’s testimony about
           how the cell phones were seized were not credible. However, the Court notes that how
           officers acted in another case generally is not probative of how they acted in this case.

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           175 F.3d 838, 844 (10th Cir. 1999) (“[C]ellular telephones are recognized tools of the

           drug-dealing trade.”); United States v. Sasson, 62 F.3d 874, 886 (7th Cir. 1995)

           (describing possession of cell phones, among several other objects, as one of “the usual

           ‘trappings’ of a person involved in the drug trade”); United States v. De La Cruz,

           996 F.2d 1307, 1311 (1st Cir. 1993) (labeling cell phones and beepers as “well known

           tools of the drug trade”). The Court finds these cases more persuasive than the cases

           cited by Lisbon, particularly where, as here, the drug conspirators were shown to utilize

           cell phones to communicate with one another.

                 Also, objectively, it was immediately apparent that there was probable cause that

           the cell phones contained evidence of the crimes for which Lisbon had been indicted.

           The officers knew that the drug-trafficking organization with which Lisbon was

           associated used cell phones to communicate with one another as to deliveries of

           controlled substances, pick-up of drug proceeds, and distribution to customers. [See,

           e.g., Doc. 203-1 at 15 (describing Title III intercepts disclosing delivery of pick-up

           truck registered to Lisbon with hidden compartment); id. at 18 (describing Title III

           intercepts disclosing delivery of suspected contraband); id. at 18-19 and 20-23

           (describing Title III intercept disclosing pick-up and seizure of drug proceeds); T1-42

           (describing that Lisbon was intercepted speaking with co-conspirators Keyna and

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           Burra, who were located in Mexico, when he borrowed a cell phone from another

           person); T1-43-44 (describing agents’ belief that Lisbon was using cell phones to

           communicate with his sources in Mexico but noting that most of the telephones the

           agents believed Lisbon was using were no longer being used by him by the time they

           were identified through the agents’ analysis of toll records). Thus, law enforcement

           reasonably believed that Lisbon was using cell phones to communicate with his

           suppliers in Mexico, as well as those who were delivering drugs to, and picking up

           proceeds from, him. As a result, the cell phones were properly seized.26

                       3.     Search of the Malibu

                 As noted, the government contends that the warrantless search of the Malibu was

           justified by two exceptions to the warrant requirement: consent and the automobile

           exception. The Court addresses them in turn.

                              i.    Consent

                  A search conducted pursuant to consent is a recognized exception to the

           requirements of probable cause and a search warrant. United States v. Harris,

           928 F.2d 1113, 1117 (11th Cir. 1991) (citing United States v. Baldwin, 644 F.2d 381,

                 26
                       Lisbon did not make an independent argument that the cell phones
           subsequently were searched without a warrant. Therefore, the Court does not address
           any such contention.

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           383 (5th Cir. 1981)); see also Katz v. United States, 389 U.S. 347, 357 (1967)

           (recognizing warrantless search made pursuant to consent as one of the “specifically

           established and well-delineated” exceptions to the warrant requirement). When the

           consent exception is invoked, “the government bears the burden of proving the

           existence and voluntariness of the consent.” United States v. Emanuel, No. 10–14764,

           2011 WL 4376191, at *2 (11th Cir. Sept. 21, 2011) (citing United States v. Acosta,

           363 F.3d 1141, 1151 (11th Cir. 2004)). Courts look to several factors to determine

           whether a defendant’s consent to search was voluntary, “including the presence of

           coercive police procedures, the extent of the defendant’s cooperation with the officer,

           the defendant’s awareness of his right to refuse consent, the defendant’s education and

           intelligence, and the defendant’s belief that no incriminating evidence will be found.”

           United States v. Purcell, 236 F.3d 1274, 1281 (11th Cir. 2001). Voluntariness of

           consent depends on the totality of the circumstances. Id. “Consent to conduct a search

           is voluntary if it is the product of an ‘essentially free and unconstrained choice.’ ”

           United States v. Figueroa, 419 Fed. Appx. 973, 977 (11th Cir. Mar. 31, 2011) (quoting

           Purcell, 236 F.3d at 1281). “While knowledge of the right to refuse consent is one

           factor to be taken into account, the government need not establish such knowledge as

           the sine qua non of an effective consent.” Purcell, 236 F.3d at 1281–82 (internal

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           quotation marks omitted). Also, without other evidence of coercion, that a defendant

           is handcuffed does not make the consent involuntary. See United States v. Garcia,

           890 F.2d 355, 362 (11th Cir. 1989) (finding consent voluntarily given even though

           fourteen law enforcement agents were present when the defendant was arrested and the

           defendant was handcuffed at the time he gave consent); see also United States v.

           Villanueva-Fabela, 202 Fed. Appx. 421, 427 (11th Cir. Oct. 27, 2006) (“Moreover,

           although Villanueva-Fabela was placed in handcuffs, this factor alone does not make

           the consent involuntary.”).

                 Further, if the arrest was lawful, the government must still establish “the

           existence of consent and that the consent was not a function of acquiescence to a claim

           of lawful authority but rather was given freely and voluntarily.” United States v. Blake,

           888 F.2d 795, 798 (11th Cir. 1989). An individual may provide implied consent where

           “the defendant’s body language indicated his assent to the search.” United States v.

           Chrispin, 181 Fed. Appx. 935, 939 (11th Cir. May 26, 2006) (citing United States v.

           Ramirez-Chilel, 289 F.3d 744, 752 (11th Cir. 2002)).27

                 27
                       It is significant that the search complained of here is of an automobile and
           not a home. As the Eleventh Circuit has noted,

                 In the context of warrantless searches of a home, we have concluded that
                 meaningful consent cannot be derived from the mere failure to object to

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                 The Court concludes that under the unique circumstances of this case, Lisbon did

           not voluntarily consent to a search of his vehicle but rather acquiesced to a show of

           lawful authority. Several factors underlie the Court’s conclusion. First, and foremost,

           he denied consent to the search of his apartment when he was asked whether he would

           consent to search. As to the vehicle, Noe did not ask Lisbon if he could search it, nor

           did he ask permission to obtain the wallet from the vehicle. T1-32. Instead, while the

           officers had lawfully seized the keys to the Malibu and used the keys to open the

           Malibu, their stated purpose in entering the Malibu was to obtain Lisbon’s

           identification, not to search the vehicle.

                 Second, other than for Noe’s convenience, there was no legal basis for requesting

           Lisbon’s identification, since the officers knew exactly who he was, and Noe did not

           give Lisbon any reason for asking for identification. As a result, the Court concludes

           that Lisbon merely acquiesced to a show of lawful authority in pointing out his vehicle.




                 a search, and that “whatever relevance the implied consent doctrine may
                 have in other contexts, it is inappropriate to ‘sanction[ ] entry into the
                 home based upon inferred consent.’ ” [United States v.] Gonzalez,
                 [71 F.3d 819, 829 (11th Cir. 1996)] (quoting United States v. Shaibu,
                 920 F.2d 1423, 1426 (9th Cir. 1990)).

           Shepard v. Davis, 300 Fed. Appx. 832, 841 (11th Cir. Nov. 25, 2008).

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           The government did not prove that Lisbon knowingly and voluntarily consented to a

           search of his car.28

                                  ii.   Automobile exception

                 In Carroll v. United States, 267 U.S. 132, 153 (1925), the Supreme Court

           established an exception to the warrant requirement for searches of automobiles and

           other moving vehicles. Under the so-called “automobile exception,”29 “[i]f a car is


                 28
                       The Court therefore finds the present case different from others where
           implied consent to search was found. For example, in Diehl v. Munro, 170 F. Supp. 2d
           311, 320 (N.D.N.Y. 2001), the court observed,

                 Here, the evidence is undisputed that Diehl both requested the defendants
                 to retrieve his pants and shoes from the rear of the van and instructed
                 Munro how to open the side door. Such words and conduct reasonably
                 constituted consent by Diehl for Munro to enter the rear of the van.
                 Moreover, because the request for the pants and shoes was generated by
                 Diehl, because Diehl’s prior conduct evidenced his knowledge and ability
                 to refuse consent to the police and from the totality of the circumstances,
                 the defendants have met their burden of establishing the voluntariness of
                 Diehl’s consent to Munro’s search. Because Munro’s entry into the rear
                 of the van was valid, he could lawfully seize Diehl’s wallet from the pants
                 as evidence. Therefore, Diehl’s claim regarding this search must be
                 denied.

           Unlike Lisbon’s request for his pants, there was no reason other than the officer’s
           convenience for Noe to request Lisbon’s identification.
                 29
                        The term “automobile exception” is somewhat of a misnomer, given that
           the Supreme Court has expressly stated that there is “no general ‘automobile exception’
           to the warrant requirement.” South Dakota v. Opperman, 428 U.S. 364, 382 (1976).

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           readily mobile and probable cause exists to believe it contains contraband, the Fourth

           Amendment . . . permits police to search the vehicle without more.” Pennsylvania v.

           Labron, 518 U.S. 938, 940 (1996). No separate exigent circumstances need to be

           shown. See Maryland v. Dyson, 527 U.S. 465, 466 (1999). The validity of the search

           turns on whether there was probable cause to believe the vehicle contained contraband

           or evidence of a crime. Id. The mobility requirement is satisfied whenever the vehicle

           to be searched is operational.       United States v. Watts, 329 F.3d 1282, 1286

           (11th Cir. 2003). A functioning vehicle is considered to be “mobile” even if it already

           has been secured by the police. See Michigan v. Thomas, 458 U.S. 259, 261 (1982)

           (explaining that officers may conduct a warrantless search of an automobile even after

           the vehicle is impounded and in police custody); United States v. Birdsong,

           982 F.2d 481, 483 (11th Cir. 1993) (holding that automobile exception applied even

           though the defendant already had been taken into custody and the police were in



           Rather, this term of art is better understood as simply embracing the now-settled
           doctrine that it is permissible to conduct a warrantless search of an automobile, and any
           containers found therein, provided that, at the time of the search, there is probable cause
           to believe that contraband or evidence is secreted at some unspecified location within
           the automobile. California v. Acevedo, 500 U.S. 565 (1992); United States v. Ross,
           456 U.S. 798 (1982). Of course, if the police have probable cause to believe that
           contraband is located in a specific area of the automobile, then a warrantless search of
           the entire automobile is impermissible. See Arkansas v. Sanders, 442 U.S. 753 (1979).

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           possession of his car keys). Police have probable cause to search a vehicle “ ‘when

           under the totality of the circumstances, there is a fair probability that contraband or

           evidence of a crime will be found in the vehicle.’ ” United States v. Lindsey, 482 F.3d

           1285, 1293 (11th Cir. 2007) (quoting United States v. Tamari, 454 F.3d 1259, 1264

           (11th Cir. 2006)); see also United States v. Lanzon, 639 F.3d 1293, 1300 (11th Cir. 2011)

           (same). A police officer’s subjective reasons for a search do not control the legal

           justification for his actions, as long as objective circumstances justify the search.

           Lanzon, id. (quoting Scott, 436 U.S. at 136).

                 In this case, the objective evidence satisfied the application of the automobile

           exception. First, the Malibu was operational. Although there was no direct evidence

           that on the date it was searched the Malibu was mobile, several facts support this

           conclusion. A co-defendant had just told law enforcement that he had picked up drug

           proceeds from Lisbon at Trotti within the last couple of weeks, and he described the

           vehicle Lisbon drove (the subject car). That same vehicle was observed at Trotti a few

           weeks before by surveillance agents. The keys to the vehicle were in Lisbon’s pants

           pocket, and, most significantly, Lisbon left his wallet (and other keys) in the vehicle,

           apparently overnight. These facts demonstrate that the Malibu was operational, and the

           fact that Lisbon was in custody and his vehicle was parked in its designated space in

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           a controlled-access parking facility are irrelevant to the legitimacy of the warrantless

           search.

                 Second, there was a fair probability that contraband or evidence of a crime would

           be located in the vehicle. Lisbon received large quantities of cocaine at the Trotti

           address and elsewhere. [Doc. 203-1 at 25]. One of his co-conspirators also had

           recently picked up drug proceeds from him at Trotti. [Id.]. This same co-conspirator

           was familiar with the vehicle he drove, and that vehicle was observed by agents outside

           the Trotti location - - which was not his residence - - within a few weeks of Lisbon’s

           arrest. The co-conspirator told law enforcement that Lisbon drove that vehicle in

           conducting his drug trafficking business. Agents reasonably could conclude, therefore,

           that evidence of Lisbon’s ongoing drug-trafficking enterprise would be located in the

           vehicle that he used to travel back and forth between his residence and a location that

           he used in furthering his drug business.

                 Since there was probable cause to believe that evidence of Lisbon’s drug

           trafficking was located in the vehicle, the officers were authorized to enter the Malibu

           and search it.




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                        4.    Seizure of wallet and second set of keys, and
                              subsequent searches

                 Having found that there was probable cause to search the Malibu, the Court

           agrees with the government that United States v. Johns, 469 U.S. 478 (1985),

           authorized the seizure of the wallet and second set of keys, and their subsequent search

           back at DEA headquarters. Id. at 484 (“There is no requirement that the warrantless

           search of a vehicle occur contemporaneously with its lawful seizure . . . [since] [t]he

           justification to conduct such a warrantless search does not vanish once the car has been

           immobilized.”) (internal citations and quotation marks omitted); United States v.

           Strickland, 902 F.2d 937, 942 (11th Cir. 1990) (“A vehicle search conducted pursuant

           to probable cause may include any item and compartment in the car that might contain

           the object of the search.”) (citing, inter alia, Colorado v. Bertine, 479 U.S. 367, 375

           (1987), and Johns, 469 U.S. at 484). Thus, the wallet was properly searched because

           evidence of Lisbon’s drug trafficking would reasonably be located therein. Moreover,

           in addition to helping establish Lisbon’s access to and dominion over other locations,

           the second set of keys contained keys to safe-deposit boxes, which an officer

           reasonably could conclude were likely to contain evidence or proceeds of Lisbon’s drug

           trafficking. Cf. United States v. Schultz, 14 F.3d 1093, 1098 (6th Cir. 1994) (upholding



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           a search of safe-deposit boxes at bank where affidavit connected boxes and defendant’s

           trafficking in illegal drugs only by stating that officer’s training and experience led him

           to believe that evidence would be located there); see also Noe affidavit in support of

           Trotti search warrant (“Drug traffickers commonly will attempt to legitimize the profits

           from illegal drug transactions by using domestic banks and their attendant services,

           (i.e., safe deposit boxes, securities, cashier’s checks, money drafts, letters of credit

           brokerage houses, real estate, shell corporations and business fronts),” located in

           Doc. 203-1 at 11-12 (emphasis supplied).

                 Therefore, since the Court concludes that Lisbon’s wallet and second set of keys

           were properly searched, the search warrants for the safe-deposit boxes were not tainted

           by any unlawful warrantless search. As a result, the undersigned RECOMMENDS

           that Lisbon’s motions to suppress the fruits of the search warrants for the safe-deposit

           boxes be DENIED.30, 31

                 30
                        The Court notes that Lisbon did not make an independent motion to
           suppress the seizure of funds in any bank accounts, nor did he make any request in any
           motion to suppress the seizures of these accounts. [See Doc. 178; Doc. 194 at 1
           (seeking suppression of evidence from Trotti, W. Ponce, vehicles and “searches of safe
           deposit boxes with Bank of America, Wachovia Bank and SunTrust Bank”); Doc. 256
           (addressing timeliness of challenges to safe-deposit-box search warrants). The first
           indication the Court had that Lisbon was challenging the seizures of the bank accounts
           was a single clause on page 10 of his “Second Amended Motion to Suppress,”
           [Doc. 256], where he wrote “[t]hese facts raise numerous questions regarding the

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                 In the event the District Court disagrees with this analysis, the Court evaluates

           the government’s other arguments directed toward avoiding suppression.

                 The government first argues that the cell phones and the Malibu would have been

           searched pursuant to the warrant issued and executed later that day, and thus

           suppression is not warranted under the inevitable-discovery doctrine. In Nix v.


           legality of the searches of the safe deposit boxes and seizure of their contents, including
           the alleged showing of probable cause to the Magistrate Judge in securing the search
           and seizure warrants . . . .” [Id. at 10 (emphasis added)]. In any event, having
           concluded that the Malibu and its contents were properly searched, any seizure warrants
           were not tainted by the warrantless search.
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                          Similarly, there is no merit to Lisbon’s Franks argument. Under Franks,
           a defendant may challenge a search-warrant affidavit through a Franks hearing if he:
           (1) makes a substantial preliminary showing that the affidavit contains a deliberately
           false statement or a statement made with reckless disregard for the truth; and (2) shows
           that the statement is material, i.e., necessary for making a probable-cause
           finding. United States v. Sarras, 575 F.3d 1191, 1218 (11th Cir. 2009) (citing
           Kapordelis, 569 F.3d at 1309, and Franks, 438 U.S. at 155-56). When a Franks
           hearing is held, a court will suppress evidence stemming from a search warrant when:
           (1) the defendant shows by a preponderance of evidence that the search-warrant
           affidavit contains perjurious statements or statements made with a reckless disregard
           for the truth; and (2) the search warrant is no longer supported by probable cause after
           setting aside the perjurious or reckless statement. See United States v. Novaton,
           271 F.3d 968, 986 (11th Cir. 2001). Even assuming that Franks is implicated when a
           search-warrant affidavit does not accurately explain how law enforcement acquired the
           evidence asserted in support of a request for a search warrant, see, e.g., United States
           v. Johnson, 265 Fed. Appx. 757, 758-59 (11th Cir. Feb. 13, 2008) (holding that
           defendant did not meet Franks burden where affidavit did not include information from
           allegedly unlawful protective sweep), as noted in the text, the evidence from the Malibu
           was lawfully seized.

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           Williams, 467 U.S. 431 (1984), the Supreme Court recognized that evidence obtained

           by unconstitutional means should not be suppressed “if the government can prove that

           the evidence would have been obtained inevitably and, therefore, would have been

           admitted regardless of any overreaching by the police. . . .” Nix, 467 U.S. at 447;

           United States v. Khoury, 901 F.2d 948, 959-60 (11th Cir. 1990); see also United States

           v. Virden, 488 F.3d 1317, 1322 (11th Cir. 2007) (stating that government’s burden was

           to establish by a preponderance of the evidence that the information would have

           ultimately been recovered by lawful means) (citing Nix, 467 U.S. at 434). The mere

           assertion by law enforcement that the information would have been inevitably

           discovered is not enough. Virden, 488 F.3d at 1322 (citing United States v. Brookins,

           614 F.2d 1037, 1048 (5th Cir. 1980)). Instead, the Eleventh Circuit’s rule is that in

           order to establish inevitable discovery the prosecution must show that “ ‘the lawful

           means which made discovery inevitable were being actively pursued prior to the

           occurrence of the illegal conduct.’ ” Virden, id. (quoting Jefferson v. Fountain,

           382 F.3d 1286, 1296 (11th Cir. 2004)) (emphasis in original); see also Khoury, 901 F.2d

           at 960; United States v. Drosten, 819 F.2d 1067, 1070 (11th Cir. 1987); United States

           v. Satterfield, 743 F.2d 827, 847 (11th Cir. 1984). “This second requirement is

           especially important. Any other rule would effectively eviscerate the exclusionary rule,

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           because in most illegal search situations the government could have obtained a valid

           search warrant had they waited or obtained the evidence through some lawful means

           had they taken another course of action.” Virden, 488 F.3d at 1322-23 (citing United

           States v. Hernandez-Cano, 808 F.2d 779, 784 (11th Cir. 1987)).

                 Here, the government did not prove that the search warrant for W. Ponce was

           being actively pursued at the time of the warrantless seizures at the time of Lisbon’s

           arrest. In fact, the evidence is undisputed that Noe did not prepare the application for

           the search warrant until after he returned to his office following Lisbon’s arrest and the

           execution of the Trotti warrant. T1-12, T1-64. As a result, the inevitable-discovery

           doctrine does not save the warrantless seizure of the cell phones or contents of the

           Malibu (if the District Court concludes the seizure of the cell phones and the search of

           the Malibu without a warrant were unlawful).

                 The government next argues that the independent-source doctrine also averts

           suppression of the Bank of America and SunTrust safe-deposit boxes if the search of

           the Malibu and the seizure and search of the wallet and second set of keys are found to

           be unlawful. Under the independent-source doctrine, even where a Fourth Amendment

           violation has occurred, evidence “obtained from a lawful source, independent of the

           illegal conduct” is admissible. United States v. Davis, 313 F.3d 1300, 1303 (11th Cir.

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           2002); see also Segura v. United States, 468 U.S. 796, 805 (1984) (explaining that the

           exclusionary rule is not implicated when the government learned of the challenged

           evidence from an independent source). The rationale for the independent-source

           doctrine is that the government should be put “in the same, not a worse, position tha[n]

           [it] would have been in if no . . . error or misconduct had occurred.” Murray v. United

           States, 487 U.S. 533, 537 (1988) (quoting Nix, 467 U.S. at 443). “[W]here law

           enforcement makes an initial warrantless entry of a residence and then obtains a search

           warrant, ‘if the search warrant was obtained based upon information from an

           independent source, then the warrantless entry, even though illegal, [does] not require

           exclusion of [the] evidence.’ ” United States v. Jones, No. 10-13912, 2011 WL

           2672554, *2 (11th Cir. July 11, 2011) (quoting Glinton, 154 F.3d at 1254) (first

           alteration added).32




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                          As Justice Scalia explained in Murray, the inevitable-discovery doctrine
           is a close relative of the independent-source doctrine. Murray, 487 U.S. at 539. Under
           the inevitable-discovery doctrine, unlawfully obtained evidence that “inevitably would
           have been discovered by lawful means” is admissible. Nix, 467 U.S. at 444. Because
           unlawfully obtained evidence so admitted is not in fact lawfully “rediscovered,” but
           only inevitably would have been, it is not admissible under the independent-source
           doctrine, which requires lawful discovery of the evidence. See Murray, 487 U.S.
           at 538–39.

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                 The Eleventh Circuit requires district courts confronting an affidavit for the

           search warrant that contains information obtained as a result of the initial warrantless

           entry, to “look to whether the other information provided in the affidavit is sufficient

           to support a probable cause finding.” United States v. Chaves, 169 F.3d 687, 692

           (11th Cir. 1999). “If so, suppression is not required . . . provided . . . that ‘the agents’

           decision to seek the warrant was not prompted by what they had seen during the initial

           entry.’ ” Chaves, 169 F.3d at 692–93 (quoting Murray, 487 U.S. at 542). The

           government bears the burden to establish, by a preponderance of the evidence, that the

           search    was    an    independent      source     of   the   evidence      in   question.

           Nix, 467 U.S. at 444 & n.5 (“If the prosecution can establish by a preponderance of the

           evidence that the information ultimately or inevitably would have been discovered by

           lawful means . . . the evidence should be received.”)

                 As in the case of inevitable discovery, the government did not satisfy its burden.

           First, it concedes that it had no independent information concerning the one Wachovia

           Bank safe-deposit box that contained evidence or proceeds other that the

           safe-deposit-box keys and the information about it in Lisbon’s wallet. [Doc. 293 at 10].

           Second, Noe testified that as a result of seeing financial records involving bank

           accounts at Trotti and W. Ponce, he directed that banks be called to determine if there

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           was any money left in those accounts. T2-10-15. And, although he later testified that

           he would generally ask for “any and all records regarding that individual at the bank,”

           T2-15, that response still does not satisfy the independent-source doctrine’s

           requirement that “ ‘the agents’ decision to seek the warrant was not prompted by what

           they had seen during the initial entry.’ ” Chaves, 169 F.3d at 692–93 (quoting Murray,

           487 U.S. at 542) (emphasis added). Noe’s request to some other agent to call the banks

           was clearly prompted by his discovery of the safe-deposit keys and search of Lisbon’s

           wallet following the entry into the Malibu, and thus his general routine would not act

           to save the fruits of the initial warrantless search of the Malibu if the District Court

           found that such a search was not support by probable cause and the vehicle’s mobility.

                 However, because the Court concludes that the searches conducted by warrants

           and without warrants were lawful, the undersigned RECOMMENDS that Lisbon’s

           motions to suppress, [Doc. 178, 194 and 256], be DENIED.

                                              Motion to Sever

                 In this motion, [Doc. 180], Lisbon argues that Rule 14 of the Federal Rules of

           Criminal Procedure requires his severance from his co-defendants because a joint trial

           would be highly prejudicial to him. In support, he argues that he is only named in

           Count One of a multiple-count indictment, he is the only non-Hispanic and non-

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           Spanish-speaking individual named in the indictment, there is very little evidence

           against him compared to some of his co-defendants, and - - although acknowledging

           that such an argument is not yet ripe - - he will be prejudiced by co-defendants’

           defenses that are antagonistic to his.

                 Rule 14(a) provides:

                        If the joinder of offenses or defendants in an indictment, an
                 information, or a consolidation for trial appears to prejudice a defendant
                 or the government, the court may order separate trials of counts, sever the
                 defendants’ trials, or provide any other relief that justice requires.

           Fed. R. Crim. P. 14(a). Thus, Rule 14(a) of the Federal Rules of Criminal Procedure

           allows for severance if joinder “appears to prejudice a defendant or the

           government.” However, “there is a preference in the federal system for joint trials of

           defendants who are indicted together.” Zafiro v. United States, 506 U.S. 534, 537

           (1993); see also United States v. Alvarez, 755 F.2d 830, 857 (11th Cir. 1985) (“The

           general rule in [the Eleventh Circuit] is that defendants who are jointly indicted should

           be tried together, and this rule has been held to be particularly applicable to conspiracy

           cases.”). Rule 14(a) requires “a [district] court to balance the rights of the defendant[ ]

           and the government to a trial that is free from the prejudice” against the public interest

           in judicial economy. United States v. Novaton, 271 F.3d 968, 989 (11th Cir. 2001)



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           (internal quotation marks omitted) (reviewing the denial of a codefendant severance

           motion).

                 A severance under Rule 14 of the Federal Rules of Criminal Procedure should

           be granted only if the defendant can demonstrate that a joint trial would result in

           specific and compelling prejudice to the conduct of his defense. United States v.

           Marszalkowski, 669 F.2d 655 (11th Cir. 1982). The test for compelling prejudice is

           “whether under all the circumstances of a particular case, as a practical matter, it is

           within the capacity of the jury to follow the [instructions] and accordingly . . . appraise

           the independent evidence against each defendant’s own acts, statements and conduct.”

           United States v. Kabbaby, 672 F.2d 857 (11th Cir. 1982). Conclusory allegations do not

           satisfy the defendant’s burden, since courts presume that jurors can compartmentalize

           evidence by respecting limiting instructions specifying what evidence may be

           considered against what defendant. United States v. Blankenship, 382 F.3d 1110, 1123

           (11th Cir. 2004) (citing United States v. Schlei, 122 F.3d 944, 984 (11th Cir. 1997)); see

           also United States v. Duzac, 622 F.2d 911, 912 (5th Cir. 1980) (holding severance not

           necessary upon defendant’s “generalized vague and speculative assertions” that co-

           defendant might testify for him were there not a joint trial).




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                 In satisfying this burden, it is not enough for the defendant to show that acquittal

           would be more likely if he was tried separately, since some degree of bias is inherent

           in a joint trial. Alvarez, 755 F.2d at 857 (citing United States v. Walker, 720 F.2d 1527,

           1533 (11th Cir. 1983), and Marszalkowski, 669 F.2d at 660). Furthermore, a defendant

           does not suffer “compelling prejudice” simply because much of the evidence at trial is

           applicable only to his co-defendants. Id. (citing United States v. Zielie, 734 F.2d 1447,

           1464 (11th Cir. 1984), and United States v. Berkowitz, 662 F.2d 1127, 1135 n.8 (5th Cir.

           Unit B Dec. 1981)); see also United States v. Cassano, 132 F.3d 646, 651 (11th Cir.

           1998) (same). Also, evidence of the reputation or past crimes of a co-defendant does

           not ordinarily justify severance. See United States v. Howell, 664 F.2d 101, 106

           (5th Cir. 1981); United States v. Ocanas, 628 F.2d 353, 359 (5th Cir. 1980); United

           States v. Perez, 489 F.2d 51, 67 (5th Cir. 1973), and cases cited therein.

                 Even if a defendant can show some prejudice, a defendant is entitled to severance

           only if that “prejudice flowing from a joint trial is clearly beyond the curative powers

           of precautionary instruction.”      United States v. Morrow, 537 F.2d 120, 126

           (5th Cir. 1976); Puiatti v. McNeil, 626 F.3d 1283, 1310 (11th Cir. 2010) (recognizing

           that defendant seeking severance has a “heavy burden” of demonstrating compelling

           prejudice, which occurs only where there is a serious risk that a joint trial (1) “would

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           compromise a specific trial right of one of the defendants,” or (2) would “prevent the

           jury from making a reliable judgment about guilt or innocence.”) (citations omitted);

           see also United States v. Walser, 3 F.3d 380, 385 (11th Cir. 1993) (recognizing that a

           court errs in denying a severance motion if the denial “result[ed] in compelling

           prejudice against which [it] could offer no protection”). Demonstrating compelling

           prejudice is “a heavy burden.” United States v. Hogan, 986 F.2d 1364, 1375 (11th Cir.

           1993).   “The test for assessing compelling prejudice is whether under all the

           circumstances of a particular case it is within the capacity of jurors to follow a court’s

           limiting instructions and appraise the independent evidence against a defendant solely

           on that defendant’s own . . . conduct in relation to the allegations contained in the

           indictment and render a fair and impartial verdict.” United States v. Hersh, 297 F.3d

           1233, 1243 (11th Cir. 2002); Walser, 3 F.3d at 386-87. If so, “though the task be

           difficult,” there is no compelling prejudice. Id. (citation omitted). If the prejudice may

           be cured by a cautionary instruction, severance is not required. Walser, 3 F.3d at 387;

           Jacoby, 955 F.2d 1527, 1542 (11th Cir. 1992).

                 Finally, whether to grant a motion to sever involves an exercise of the court’s

           considered discretion. Jacoby, 955 F.2d at 1542.




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                 Viewed through this analytical prism, Lisbon’s motion for severance is due to

           be denied. There is a preference for trying indicted defendants together, and Lisbon has

           not met his “heavy burden” of establishing compelling prejudice mandating severance.

           After all, the District Court is likely to instruct the jury on the substance of Eleventh

           Circuit Pattern Jury Instruction (Criminal) 10.2 (2003) [Caution - - Punishment (Single

           Defendant - - Multiple Counts)], which provides, in relevant part:

                        A separate crime or offense is charged in each count of the
                 indictment. Each charge and the evidence pertaining to it should be
                 considered separately. The fact that you may find the Defendant guilty or
                 not guilty as to one of the offenses charged should not affect your verdict
                 as to any other offense charged.

           This is similar to the charge given in Walser, 3 F.3d at 387, and which was found to

           contribute to a finding that the defendant was not deprived of a fair trial due to

           prejudicial joinder. A jury is presumed to be able to follow the court’s instructions and

           evaluate the evidence as to each count independently. See United States v. Badia,

           827 F.2d 1458, 1466 (11th Cir. 1987) (multiple defendants).

                 Therefore, Lisbon is not entitled to severance, and the undersigned

           RECOMMENDS that his motion for severance, [Doc. 180], be DENIED.




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                                              Conclusion

                 For the above reasons, the undersigned RECOMMENDS that Lisbon’s motions

           to suppress, [Docs. 178, 194 and 256], and to sever, [Doc. 180], be DENIED.

                 IT IS SO RECOMMENDED, this the 13th day of October, 2011.




                                                ALAN J. BAVERMAN
                                                UNITED STATES MAGISTRATE JUDGE




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